            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSLVANIA

A&B CAMPBELL FAMILY LLC;              :
AMBER ANN ADAMS; BURTON R.            :
ADAMS and JOANNE M. ADAMS,            :   CIVIL ACTION NO. 3:15-340
Individually and trading as ADAMS’    :
TYLER MOUNTAIN LIMITED                :      (JUDGE MANNION)
LIMITED PARTNERSHIP; LIBBIE. A.       :
ADAMS; SHERWOOD G. ADAMS;             :
TOBY L. ADAMS; JAMES P. AHERN;        :
EUGENE J. BARRETT, JR., and LORI R.   :
BARRETT; JAMES T. BARRETT and         :   AMENDED COMPLAINT
CINDY E. BARRETT, Individually and    :
trading as BCF FAMILY LIMITED         :
PARTNERSHIP; JOHN M. BARRETT,         :
trading as JOHN M. BARRETT FAMILY     :
LIMITED PARTNERSHIP; BARTO            :
FAMILY LLC; CLARK H. BEEBE,           :     Jury Trial Demanded
Individually and as Trustee of the    :
JOSEPH H. BEEBE TRUST, and with       :
DONNA L. BEEBE, as Trustees of the    :
BEEBE LIVING TRUST DATED              :
JUNE 10, 2010; DAVID J. BRIDE and     :
DIANE V. BRIDE, Individually and      :
trading as BRIDE FAMILY LIMITED       :
PARTNERSHIP; MICHAEL R. BRIDE         :
and SHIRLEY BRIDE, trading as         :
MARSHVIEW FAMILY LIMITED              :
PARTNERSHIP; RUSSELL E. BULICK        :
and CATHY ANN BRADY; PAULA A.         :
BRUYN; CAHILL REALTY BUSINESS         :
TRUST; RONALD L. CAMPBELL;            :
JAMES E. CANFIELD and FREDA L.        :
CANFIELD; RICHARD A. CARD, JR.        :
and CANDY S. CARD; ERVEN W.           :
CRAWFORD and JUNE CRAWFORD;           :
DJH & PAH, LLC trading as WGH &       :

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HBH, LP; DJH & WGH, LLC, trading as :
HENRY BROTHERS, L.P.; PAUL            :
DENAULT and VALARIE DENAULT;          :
ROBERT L. DIBBLE, JR. and LYNN        :
DIBBLE; DP INVESTMENTS, LLC;          :
BRIAN R. DRISCOLL; CHARLES L.         :
EMERSON and PAMELA L. EMERSON; :
EPLER FAMILY LLC; F & M               :
ROBINSON, LLC trading as FRANCIS & :
MAXINE ROBINSON FAMILY LIMITED :
PARTNERSHIP; FOSTER FAMILY LLC; :
E. LARRY FRANKLIN and CAROL           :
FRANKLIN; THOMAS R. FREDERICK :
and DEBORAH FREDERICK a/k/a           :
DEBORAH S. FREDERICK trading as       :
FH RANCH FAMILY LIMITED               :
PARTNERSHIP; THEODORE B. GATTO :
a/k/a THEODORE GATTO, Individually and
as Administrator of the ESTATE OF     :
PENNY JUNE GATTO, Deceased;           :
GOWAN RESOURCE MANAGEMENT, :
LLC trading as R&E GOWAN FAMILY :
LIMITED PARTNERSHIP; JAMES E.         :
GRIMES and BARBARA P. GRIMES;         :
F. ROBERT HAUSS and CAROL HAUSS, :
trading as HAUSS FAMILY LIMITED       :
PARTNERSHIP; WALTER G.                :
HENRY, JR. and CHERYL A. HENRY;       :
RICHARD W. JACKSON and DOLORES :
B. JACKSON, Trustees of the JACKSON :
TRUST DATED JULY 1, 2002;             :
THEODORE A. JOHNSON; LITTLE           :
FALL R&R INC.; BONNIE C. LONG;        :
RICHARD D. MARSHALL and               :
SANDRA L. MARSHALL; WILSON F.         :
MARTIN a/k/a WILSON F. MARTIN, JR., :
and MARY ELLEN MARTIN; NEVA S. :
MINARIK; DAVID W. MOON and            :

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                                   2
MARY J. MOON trading as              :
MOONHAVEN FAMILY LIMITED             :
PARTNERSHIP; MORCHAR LLC trading :
as M&C FASSETT FAMILY LIMITED        :
PARTNERSHIP; KENT L. MORGAN and :
M. PATRICIA NELSON; WESLEY G.        :
MOSIER and BARBARA E. MOSIER         :
a/k/a BARBARA E. KISSELL; MOSIER :
REAL ESTATE CO., LLC, trading as     :
MOSIER FAMILY ROYALTY                :
MANAGEMENT, LP; MS & JC DOSS,        :
LLC trading as M & J DOSS LP;        :
DORIS J. NEWTON; H. TIMOTHY          :
NEWTON and RENEE S. NEWTON;          :
SHAWN PATRICK NEWTON and             :
NICOLE D. NEWTON; WALTER E.          :
NEWTON, III and DARLENE R.           :
NEWTON; WALTER E. NEWTON, III and :
SHAWN NEWTON trading as NEWTON :
FAMILY LIMITED PARTNERSHIP;          :
OUTDOOR INVESTMENT, LLC trading :
as WHITE TAIL MOUNTAIN WELL, LP; :
JAMES B. OWEN; LACINDA L.            :
PETERMAN; JACQUELINE T. PLACE :
 a/k/a JACQUELINE J. PLACE; JERRY L. :
PRICE and CLAUDIA C. PRICE;          :
MILTON REPSHER a/k/a MILTON H.       :
REPSHER, SR. and NETA REPSHER a/k/a :
NETA V. REPSHER trading as M&N       :
REPSHER PARTNERS LIMITED             :
PARTNERSHIP; DAVID L. SANDT,         :
a/k/a DAVID LEO SANDT and            :
MARYANNE SANDT; REXFORD              :
SCHOONOVER; PAUL R. SITES and        :
SUE A. SITES trading as SITES FAMILY :
LIMITED PARTNERSHIP; SL ALLEN        :
LLC trading as SHIRLEY L. ALLEN      :
FAMILY LIMITED PARTNERSHIP;          :

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                                  3
JAMES P. SNELL; JOHN R. SNELL and :
MICHELLE S. SNELL trading as          :
OUTBACK FAMILY LIMITED                :
PARTNERSHIP; PETER P. SOLOWIEJ        :
and KENDRA P. SOLOWIEJ; ROBERT H. :
STOUDT, JR. and PATTI L. STOUDT,      :
trading as STOUDT FARM LIMITED        :
PARTNERSHIP; JOHN L. SULLIVAN         :
a/k/a JOHN M. SULLIVAN and            :
CHRISTINE L. SULLIVAN a/k/a           :
CHRISTINE SULLIVAN, Individually and :
trading as 3 BORDERS FLP; MARY        :
ALICE SULLIVAN and KATHERINE S. :
BARRETT, as Trustees of the SULLIVAN :
FAMILY TRUST, and Individually;       :
and TOR TAMARACK, LLC, trading as     :
THOMSON BUSINESS VENTURES, L.P. :
f/k/a THOMSON FAMILY LIMITED          :
PARTNERSHIP,                          :
                                      :
                         Plaintiffs,  :
                                      :
                  v.                  :
                                      :
CHESAPEAKE ENERGY                     :
CORPORATION; CHESAPEAKE               :
APPALACHIA, L.L.C.; CHESAPEAKE        :
ENERGY MARKETING, LLC, as             :
successor by conversion to CHESAPEAKE :
ENERGY MARKETING, INC.;               :
CHESAPEAKE OPERATING L.L.C., as :
successor by conversion to CHESAPEAKE :
OPERATING, INC.; WILLIAMS             :
PARTNERS, L.P., f/k/a ACCESS          :
MIDSTREAM PARTNERS, L.P.;             :
ACCESS MLP OPERATING, L.L.C.;         :
APPALACHIA MIDSTREAM                  :
SERVICES, L.L.C.: ANADARKO E&P        :

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ONSHORE LLC, as successor by                            :
conversion to and f/k/a ANADARKO E&P                    :
COMPANY LP; STATOIL USA                                 :
ONSHORE PROPERTIES, INC.; and                           :
MITSUI E&P USA LLC,                                     :
                                                        :
                               Defendants.              :
                                                        :

                                 AMENDED COMPLAINT

       The above-named plaintiffs, by and through their undersigned attorneys, file

this amended complaint and assert the following claims against the above-named

defendants, demanding trial by jury. Plaintiffs make the allegations set forth in this

amended complaint upon personal knowledge as to themselves and their own acts,

and upon information and belief as to all other matters, based in part upon

investigation conducted by and through their attorneys.

I.     INTRODUCTION

       1.       Plaintiffs hold royalty interests under oil and gas leases relating to

properties located in Bradford County, Pennsylvania, or in nearby townships

located in Sullivan or Wyoming Counties, Pennsylvania. 1

       2.      Defendants        Chesapeake           Appalachia,     L.L.C.      (“CALLC”            or

“Chesapeake Appalachia”), Anadarko E&P Onshore LLC, as successor by

conversion to and f/k/a Anadarko E&P Company LP (“Anadarko E&P”), Statoil

1
 In the aggregate, the plaintiffs in this action hold royalty interests in the natural gas produced
from over 12,000 acres of leasehold land.


                                                  5
USA Onshore Properties, Inc. (“Statoil USA”), and Mitsui E&P USA LLC

(“Mitsui E&P” and, together with CALLC, Anadarko E&P, and Statoil USA, the

“Lessee Defendants”), hold working interests in each of the oil and gas leases in

which Plaintiffs hold royalty interests, either as the original lessee party to such

lease or as the assignees of all or part of the right, title and interest of the original

lessee party.

      3.        CALLC, directly or through one or more of its affiliates identified

below, also serves as the operator of the working interests in the leases, and of the

wells drilled in pooled units established for the exploration, development and

production of oil and gas pursuant to the leases in which Plaintiffs hold royalty

interests, on behalf of itself, the other Lessee Defendants, and other entities holding

working interests in the leases.

      4.        Each of the Lessee Defendants is responsible for accounting for and

distributing its share of the royalties due and owing to royalty interest owners,

including Plaintiffs, in connection with the leases in which the respective Lessee

Defendants hold working interests. CALLC, on information and belief, is also

responsible for accounting for and distributing the royalties due and owing by

certain other owners of working interests in the leases.

      5.         Plaintiffs bring this action to recover the compensatory damages that

they have sustained, punitive damages, a permanent injunction, and other



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supplemental and ancillary declaratory and equitable relief, as a result of (a)

unlawful conduct by Defendants in violation of the antitrust laws of the United

States, (b) unlawful conduct by the Defendants in violation of the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968, et

seq., (c) breaches of contract by certain of the Defendants, and (d) common law

torts by certain of the Defendants, all of which have caused Plaintiffs to be

wrongfully deprived of royalties which they are entitled to receive under the terms

of the respective leases in which they hold royalty interests, as a result of the

wrongful deduction of unauthorized or artificially inflated, excessive and

unreasonable post-production fees for gas gathering and transportation.

      6.      As alleged in further detail below, Defendants have wrongfully

deprived Plaintiffs, and are continuing to wrongfully deprive Plaintiffs, of the

royalties to which they are entitled under their respective royalty interests, through

a series of separate but related unlawful schemes. In addition, as also alleged in

further detail below, the Lessee Defendants have breach their express or implied

contractual obligations to Plaintiffs.

      7.     Although all of the Defendants ultimately participated in the schemes,

they were originated and orchestrated by defendant Chesapeake Energy

Corporation (“Chesapeake Energy” and, together with its affiliated defendants,

“Chesapeake”), the parent of defendants CALLC.



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      A.    The Anticompetitive Scheme to Allocate Geographic Markets for
            the Acquisition of Gas Mineral Rights and Operating Working
            Interests in Oil and Gas Leases Through The Establishment and
            Abuse of Restrictive Areas of Mutual Interest

      8.    As alleged in further detail below, the Lessee Defendants and/or their

respective corporate parents or affiliates, which otherwise are competitors in the

business of natural gas exploration and production, sought to and did divide and

allocate between and among themselves and other non-party competitors the

geographic markets for Gas Mineral Rights, Operating Rights and Gathering

Services (all as defined below), in multiple counties in Northern Pennsylvania,

including, but not limited to, all or substantial portions of Bradford County,

Pennsylvania, adjacent portions of Sullivan, Susquehanna and Wyoming Counties,

and Lycoming County, Pennsylvania, with the intent and effect of        reducing,

restraining or eliminating competition

      9.    The Lessee Defendants implemented their scheme by, among other

things, entering into a variety of contracts and establishing a variety of

relationships, including joint venture agreements, joint exploration agreements,

assignments and partial assignments of oil and gas leases, and agreements to

exchange oil and gas assets, including the establishment of contractually

designated “areas of mutual interest” (“AMI”) (discussed in further detail below)

located in Bradford County, Pennsylvania, in adjacent portions of Sullivan,

Susquehanna and Wyoming Counties, Pennsylvania.

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      10.    An area of mutual interest, or AMI, is an area established pursuant to

a contract that describes a geographic area in which two or more oil and gas

exploration and production companies have interests, and typically defines the

rights that each party does or will have (i.e. percentage interest) in the area, the

length of time during which the contract will be in effect, and how the interests of

the parties will be implemented.

      11.    The Lessee Defendants involved in allocating the market for Gas

Mineral Rights intended to and did (i) reduce, restrain or eliminate competition for

Gas Mineral Rights, and for the right to operate working interests in oil and gas

leases, within the defined AMI; (ii) fix, lower or maintain the price that they had to

pay to acquire Gas Mineral Rights (in the form of both initial bonus payments and

ongoing royalties) to landowners within the defined AMI; and (iii) enable

themselves to then reduce, restrain or eliminate competition in the markets for

Operating Rights and Gathering Services in and around the defined AMI.

      12.    As a result of the scheme, CALLC and Anadarko E&P went from

being horizontal competitors for Gas Mineral Rights, Operating Rights and

Gathering Services, in Bradford County, and in surrounding portions of Sullivan,

Susquehanna and Wyoming Counties, to a state of competitive détente, in which

each of them ceded the right to be the operator of wells and units (and associated

gathering systems) in certain counties to the other, while maintaining a working



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interest in the leases, and a non-operating interest in the gathering systems,

operated by the other.

      13.    Although Anadarko E&P or its predecessor in interest, T.S. Calkins,

secured and was sole initial party to all of the oil and gas leases that are at issue in

this action, Anadarko E&P never became the operator of any of the wells drilled or

units established pursuant to the leases in Bradford, Sullivan, Susquehanna and

Wyoming Counties, or of any of the gathering systems developed to service such

wells. To the contrary, as a result of the market allocation scheme, and pursuant to

the AMI, CALLC became the sole operator of all of the wells drilled and units

established pursuant to such leases, and Anadarko E&P does not serve as the

operator, and has never served as the operator, of any wells in Bradford, Sullivan,

Susquehanna or Wyoming Counties.

      14.    The results of the successful market allocation scheme can be vividly

seen in a map depicted on a slide titled “Northern Tier Drilling”, which was

included in a presentation by Representative Matt Baker of the 68th District,

entitled “The Economic Impact of Marcellus Shale in Bradford and Tioga

Counties, Pennsylvania”. A copy of the slide is attached hereto as Exhibit A. As

indicated on the slide, “Chesapeake Energy is the red wells”. As reflected in the

map, Chesapeake Energy (directly or through its affiliate CALLC) is the sole




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operator of wells in most of Bradford County, and in much of the surrounding

portions of Sullivan, Susequehanna and Wyoming Counties.

      15.    As a result of the market allocation scheme, CALLC effectively

became the sole purchaser of Gas Mineral Rights within the defined AMI, which

then enabled CALLC and Chesapeake to control Operating Rights and Gathering

Services in the AMI.

      B.     The Initial Scheme to Eliminate, Reduce and Restrain
             Competition in the Market for Gas Gathering Services

      16.    As alleged in further detailed below, the same defendants who

schemed to allocate the geographic market for Gas Mineral Rights and operating

working interests in oil and gas leases, or their respective midstream affiliates, also

agreed, combined and conspired to reduce, restrain or eliminate competition in the

market for natural gas gathering services, in specified dedicated acreage in

Bradford County, Pennsylvania, and adjacent portions of Sullivan, Susquehanna

and Wyoming Counties, Pennsylvania, which, on information and belief,

overlapped or was substantially similar or identical to the AMI establish as part of

the market allocation scheme. The defendants effectively created a monopoly, by

and through the use of pipelines in which each of them, directly or indirectly, held,

and some or all of them continued to hold, ownership interests.

      17.     By eliminating, reducing or restraining competition in the market for

natural gas gathering services within the dedicated acreage, the Defendants

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intended to enable themselves to fix, raise, or maintain, and to charge or benefit

from, and then did fix, raise or maintain, and charge or benefit from, supra-

competitive fees for gathering services.

The Defendants involved in the initial scheme to eliminate, reduce or restrain

competition in gas gathering services within the dedicated acreage benefited from

the supra-competitive prices both (a) through their shared ownership of the

gathering pipelines used to provide the gathering services, in proportion to their

working interests in the production units serviced by such pipelines, and (b) by

passing-on a substantial portion of such supra-competitive fees to Plaintiffs and

other owners of royalty interests in oil and gas leases in which such defendants or

their affiliates held working interests, by deducting such fees from the royalties

payable to Plaintiffs and other royalty interest owners.

      C.     The Subsequent Scheme to Transfer, Bolster and Extend the
             Unlawfully Acquired Monopoly on Gas Gathering Services

      18.    As alleged in further detail below, Chesapeake ultimately agreed,

combined and conspired with defendant Williams Partners, L.P., f/k/a Access

Midstream Partners, L.P. (“Access”), to transfer to Access, and to bolster and

extend, the monopoly on Gathering Services that Chesapeake unlawfully

established in designated acreage that substantially coincided with the AMI, to

enable Chesapeake to generate funds to stave-off a liquidity crisis that it faced as a

result of the excessive debt that it undertook to acquire leases, drill wells and

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establish gathering systems. The defendants implemented their scheme through a

series of complex transactions detailed below which ultimately amounted to the

equivalent of a multi-billion dollar an off-balance sheet loan, for which Plaintiffs

and other royalty interest owners would end up paying a substantial share of the

interest.

       D.    The Scheme to Defraud Plaintiffs of Their Royalties by the
             Misrepresentation of Unauthorized or Artificially Inflated
             Deductions

       19.   Finally, the Defendants executed a scheme and artifice to deprive

Plaintiffs and other oil and gas lessors who own property within the dedicated

acreage of the royalties properly due to them, by means of fraudulent pretenses and

representations through the use of the United States mails, in violation of 18 U.S.C.

§ 1341, and by participating in the conduct of an enterprise through a pattern of

racketeering acting, in violation of RICO. In particular, each of the Lessee

Defendants issued periodic (usually monthly) royalty statements and royalty

payments to Plaintiffs which reflected deductions for excessive, unreasonable and

artificially inflated gas gathering and transportation fees, which were based on the

commitments The Defendants used the mails as a central feature of their scheme




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       E.     The Lessee Defendants’ Breaches of Their Express and Implied
              Contractual Obligations to Plaintiffs

       20.    Separate and apart from the schemes described above, Plaintiffs also

contend that the Lessee Defendants breached the express or implied contractual

obligations that they owed to Plaintiffs under the terms of their respective oil and

gas leases.

       21.    In particular, Plaintiffs contend that the Lessee Defendants, acting in

violation of their express and/or implied contractual obligations under the terms of

the leases under which Plaintiffs hold royalty interests, have underpaid, and

continue to underpay, the royalties due and owing by them (and, in the case of

CALLC, by certain other holders of working or overriding interests in the Leases,

for which CALLC is responsible for accounting for and distributing royalties), to

Plaintiffs. The underpayment of royalties stems from the respective defendants: (i)

basing the royalty payments on artificial gas prices lower than the effective price

actually received by them for the gas produced under Plaintiffs’ leases; and/or (ii)

effectively deducting from Plaintiffs’ royalties unauthorized and impermissible

amounts for purported post-production costs, such as purported costs of gas

gathering, marketing and transportation, in calculating the royalties payable to

Plaintiffs.

       22.    The use of such artificial prices and deductions violates the express

language of the leases, which require royalties to be calculated based on the market

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value at the well of gas sold, and do not permit the deduction of post-production

costs in calculating the royalty payable under the lease.

      23.    Alternatively, even if the Lessee Defendants otherwise are entitled to

deduct or give effect to post-production costs in calculating the royalties payable to

Plaintiffs, each of the Lessee Defendants has violated the implied covenants of

good faith and fair dealing inherent in the leases under which the Plaintiffs hold

royalty interests by deducting, or giving effect to the deduction of, purported post-

production costs which were and are arbitrary, grossly excessive and unreasonable

in amount.

      24.    Although the Lessee Defendants did not all appear to have started to

take unauthorized or excessive deductions at the same time, or at least to have

disclosed such deductions in their royalty accountings, they all ultimately began to

do so. Until recently, defendant Statoil USA had not expressly itemized or

disclosed on its check stubs or royalty statements to Plaintiffs that it was taking

any deductions for gathering or transportation costs in the calculation of their

royalties, even though Statoil receives revenues from the same gas, produced from

the same wells, subject to the same leases, as to which the other Lessee Defendants

takes substantial post-production deductions. At the same time, Statoil, reported

substantially lower unit price for the gas produced from the same wells, for the

same months, from which Plaintiffs infer that Statoil was actually taking


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deductions for post-production costs without disclosing them, and then simply

paying royalties on the resulting lower unit price.

      25.    The arbitrary, excessive and unreasonable deductions for purported

gas gathering and transportation costs being deducted in calculating the royalties

payable to Plaintiffs are the product and intended result of: (i) an unlawful and

anticompetitive   contract,   combination      or     conspiracy   among   defendants

Chesapeake Energy, Chesapeake Energy Marketing, Inc. (“CEMI”), and

Chesapeake Operating, Inc. (“COI”), Appalachia Midstream Services, L.L.C.

(“AMS”), Williams Partners, L.P. f/k/a Access Midstream Partners, L.P.

(“Access”), Access MLP Operating, L.L.C. (“Access MLP”), to fix, raise, maintain

and stabilize the price of gas gathering and intrastate transportation services in the

relevant geographic area; (ii) the unlawful attempt by Chesapeake and Access

Midstream to monopolize, or the actual unlawful monopolization by them of, the

market for gas gathering and intrastate transportation services in the relevant

geographic area; and (iii) the accompanying participation by Chesapeake and

Access Midstream in a scheme involving the conduct of the affairs of one or more

de facto enterprises through what amounted to a pattern of racketeering activity.

      26.     The Lessee Defendants provide Plaintiffs with only cryptic, cursory,

incomplete and misleading summaries of the deductions taken in calculating their

royalties.



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       27.     Despite extensive efforts and research, Plaintiffs have been unable to

obtain copies of many of the key agreements and documents necessary to confirm,

understand and allege with particularity operative details of Defendants’ schemes.

Such documents and information are not publicly filed by the Defendants, but

instead are treated as highly confidential trade secrets or business information, and

closely guarded by Defendants. As a result, such documents and information are

peculiarly within the control of Defendants.

       F.      The ProPublica Report

       28.     As outlined in a March 13, 2014 article published online in

ProPublica, entitled Chesapeake Energy’s $5 Billion Shuffle, available at

http://www.propublica.org/article/chesapeake-energy’s-5-billion-shuffle (last

accessed September 10, 2014) (the “ProPublica Report”), Chesapeake conspired

with Access Midstream to accelerate and continue its scheme to extract improperly

inflated royalty deductions from lessors such as Plaintiffs. 2 According to the

ProPublica Report, in calculating the royalties payable to lessors, Chesapeake


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  According to its website, “ProPublica is an independent, non-profit newsroom that produces
investigative journalism in the public interest.” http://www.propublica.org/about/ (last accessed
January 29, 2015). ProPublica was awarded the 2011 Pulitzer Prize for National Reporting and a
2010 Pulitzer Prize for Investigative Reporting and a Peabody Award (the highest honor in
broadcast journalism) in 2013. http://www.propublica.org/awards/ (last accessed January 29,
2015). ProPublica’s investigative publications have been cited and relied upon by federal courts
when evaluating the sufficiency of plaintiffs’ pleadings. See, e.g., Garden City Employees’
Retirement System v. Psychiatric Solutions, Inc., 2011 WL 1335803, at *27 (M.D.Tenn. Mar. 31,
2011). By citing and making certain allegations based on the ProPublica Report, Plaintiffs do
not intend to adopt or admit the accuracy of all of the factual allegations contained in the report.


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decided to further artificially inflate the deductions that it took from the proceeds

that it received at the point of sale of the natural gas that it produced from the

lessors’ properties in order to enable it to obtain and satisfy what amounted to a $5

billion off-balance-sheet loan from Access Midstream, disguised as asset sales, to

enable Chesapeake to hide its need to “raise billions of dollars quickly,” without

alarming financial markets by the extent of its financial troubles, at a time when it

was already saddled by billions of dollars in debt. See id.

      29.    Access Midstream, Chesapeake’s co-conspirator, had a strong

financial incentive to participate in the scheme. In return for “purchasing” $4.76

billion in gas transportation lines from Chesapeake, Access Midstream was

guaranteed to recover $5 billion plus a supra-competitive 15% annual return on its

investment over the next decade – a material part of which Access Midstream and

Chesapeake knew and intended would come at the expense of royalty interest

owners such as Plaintiffs, in the form of artificially and improperly inflated royalty

deductions. See id.

      30.    From the perspective of Access Midstream, the deal terms were

highly attractive and favorable. As described by J. Michael Stice, Access

Midstream’s Chief Executive Officer, “[i]t doesn’t get any better than this.” See id.

For Plaintiffs and other lessors to Chesapeake, however, the Chesapeake/Access

Midstream deal could hardly get any worse.



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      G.     Pennsylvania Government Officials Acknowledge and
             Attempt to Address the Problem

      31.    As several Pennsylvania state officials have recognized, Plaintiffs are

not the only Pennsylvania gas royalty interest owners who have been harmed by

Chesapeake’s improper deduction of post-production costs in calculating royalty

payments. In a letter dated February 13, 2014 to Robert D. Lawler, Chesapeake’s

Chief Executive Officer, then-Governor Tom Corbett noted that, for some time, he

had received complaints from his constituents and Chesapeake’s leaseholder

“regarding practices of Chesapeake Energy which strike many as unfair and

perhaps illegal.” In particular, Governor Corbett noted that:

                     Deductions of post-production costs, in a manner
             which seemingly few if any other operators in
             Pennsylvania utilize, has caused a significant erosion of
             the trust and goodwill the natural gas industry has
             established with Pennsylvania leaseholders and local
             communities.

Governor Corbett also noted that, by copy of the letter, he was urging Attorney

General Kathleen Kane to examine the issue. Id.

      32.    By letter dated February 14, 2014 to Doug McLinko, Chairman of the

Bradford County Board of Commissioners, then-Governor Corbett noted that he

had grown increasingly concerned about the treatment of Pennsylvania

leaseholders with respect to the deduction of post-production costs, and stated that




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“our efforts to receive straightforward answers [regarding deduction of post-

production costs] have led to even more confusion….”

II.   JURISDICTION AND VENUE

      33.       Plaintiffs bring the claims set forth in the First and Second Causes of

Action under Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, for

treble damages and injunctive relief, as well as reasonable attorneys’ fees and

costs, with respect to the injuries sustained by Plaintiffs arising from violations of

Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2. As a result, this Court

has original subject matter jurisdiction over the claims set forth in the First, Second

and Third Causes of Action pursuant to 28 U.S.C. §§ 1331 and 1337 and 15 U.S.C.

§§ 15 and 26.

      34.    Plaintiffs bring the claim set forth in the Third and Fourth Causes of

Action for violations of the provisions of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968, et seq., to recover the

damages they have sustained as a result of the participation by Chesapeake and

Access Midstream in a scheme involving the conduct of the affairs of one or more

de facto enterprises through what amounted to a pattern of racketeering activity.

As a result, this Court has original jurisdiction over the Fourth Cause of Action

pursuant to 28 U.S.C. § 1331 (federal question jurisdiction) and 18 U.S.C. §§ 1962

and 1964 (prohibited activities; civil remedies).



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      35.    This Court has personal jurisdiction over Defendants because each of

them systematically and continuously transacts substantial business in the United

States and in this District.

      36.    This Court also has supplemental jurisdiction over the claims and

parties named the Fifth through Ninth Causes of Action, pursuant to 28 U.S.C. §

1367 (supplemental jurisdiction), as the claims set forth therein are sufficiently

related to the claims over which the Court has original jurisdiction that they form

part of the same case or controversy.

      37.    In addition, or in the alternative, this Court has subject matter

jurisdiction over the claims set forth in the Fifth through Ninth causes of action

pursuant to 28 U.S.C. § 1332, because the aggregate matter in controversy in such

claims, as to each Plaintiff, exceeds the sum or value of $75,000, exclusive of

interest and costs, and the claims are between citizens of different states, resulting

in complete diversity of citizenship.

      38.    Venue is proper in this District pursuant to: 15 U.S.C. § 22 – which

provides for venue of suits under the antitrust laws against a corporation in any

district in which it may be found or transacts business; 18 U.S.C. § 1965(a) –

which provides for venue in any district in which a RICO defendant transacts his

affairs; and pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. § 1132(e)(2), because a




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substantial portion of the events giving rise to Plaintiff’s claims occurred in this

District, and Defendants are subject to personal jurisdiction in this District.

       39.    Defendants’ respective business activities that are the subject of this

Complaint are within the flow of, and substantially have affected, interstate trade

and commerce.

III.   PARTIES

       A.    Plaintiffs

       40.   Plaintiff A&B Campbell Family LLC (“Campbell FLLC”) is a

Pennsylvania limited liability company with its principal place of business in

Wyalusing, Pennsylvania. Each of the members of Campbell FLLC resides in and

is a citizen of the Commonwealth of Pennsylvania. Campbell FLLC is the

successor in interest to Andy Campbell a/k/a Andy D. Campbell, and to Bonnie L.

Campbell, in royalty interests in the oil, gas and other minerals produced from a

real property situated in Albany Township, in Bradford County, Pennsylvania,

described as Tax Parcel Number 02-124-42, consisting of approximately 164.48

acres in the aggregate (the “Campbell Property”).

       41.   Plaintiff Amber A. Adams is an adult individual residing in

Wyalusing, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and is

the owner of: (a) an undivided one-fourth (1/4) interest in real property situated in

Colley Township, Sullivan County, Pennsylvania (a portion of which is situated in



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Wilmot Township, Bradford County) described as Tax Parcel Number 02-093-

0001, consisting of approximately 104.08 acres (“Amber Adams Property 1”); and

(b) an undivided one-fifth (1/5) interest in the mineral rights to a real property

situated in Colley Township, Sullivan County, Pennsylvania (a portion of which is

situated in Wilmot Township, Bradford County) described as Tax Parcel Number

02-094-0001, consisting of approximately 104 acres (“Amber Adams Property 2”)

      42.   Plaintiffs Burton R. Adams and Joanne M. Adams are adult

individuals residing in Dushore, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the general partners of Adams’ Tyler Mountain Limited

Partnership, which is the owner of real property situated in Colley Township,

Sullivan County, Pennsylvania, described as Tax Parcel Numbers 02-080-0001,

02-080-0004 and 02-081-0020, consisting of approximately 248.239 acres (the

“Adams Tyler Mountain LP Property”). Burton R. Adams also owns an undivided

one-fourth (1/4) interest in a separate real property situated in Colley Township,

Sullivan County, Pennsylvania, described as Tax Parcel Number 02-080-0003,

consisting of approximately 48.461 acres (the “Burton Adams Property”).

      43.   Plaintiff Libbie A. Adams is an adult individual residing in Dushore,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and is the owner

of: an undivided one-fourth (1/4) interest in real property situated in Colley

Township, Sullivan County, Pennsylvania, described as Tax Parcel Number 02-



                                       23
080-0003, consisting of approximately 48.461 acres (the “Libbie Adams

Property”).

      44.     Plaintiff Sherwood G. Adams is an adult individual residing in

Wyalusing, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and is

the owner of an undivided one-fifth (1/5) interest in real property situated in Colley

Township, Sullivan County, Pennsylvania (a portion of which also is located in

Wilmot Township, Bradford County), described as Tax Parcel Numbers 02-094-

0001, consisting of approximately 104.08 acres, and 02-080-0003-001, consisting

of approximately 2.5 acres (the “Sherwood Adams Property”).

      45.      Plaintiff Toby L. Adams is an adult individual residing in

Wyalusing, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and is

the owner of: (a) an undivided one-fourth (1/4) interest in real property situated in

Colley Township, Sullivan County, Pennsylvania, described as Tax Parcel Number

02-080-0003, consisting of approximately 48.461 acres (the “Toby Adams

Property”).

      46.     Plaintiff James P. Ahern is an adult individual residing in Wyalusing,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the owner of

real property situated in Terry Township, Bradford County, Pennsylvania,

described as Tax Parcel Number 46-113.00-046, consisting of approximately 105

acres (the “Ahern Property”).



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      47.   Plaintiffs Eugene J. Barrett, Jr. and Lori R. Barrett are adult

individuals residing in Towanda, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Asylum Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 04-113.00-14,

consisting of approximately 108 acres (the “Eugene Barrett Property).

      48.   Plaintiffs James T. Barrett and Cindy E. Barrett, individually and

trading as BCF Family Limited Partnership (“BCF”), are adult individuals residing

in Towanda, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the

general partners of BCF, a Pennsylvania limited partnership which is the owner of

real property situated in Asylum Township, Bradford County, Pennsylvania,

described as Tax Parcel Numbers 04-113-05 and 04-112-51, consisting of

approximately 422.73 acres (the “James Barrett Property).

      49.   Plaintiff John M. Barrett trading as John M. Barrett Family Limited

Partnership (“John Barrett FLP”), is an adult individual residing in Towanda,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the sole

general partner of John Barrett FLP, a Pennsylvania limited partnership with its

principal place of business in Towanda, Pennsylvania. Each of the limited partners

of John Barrett FLP also resides in and is a citizen of the Commonwealth of

Pennsylvania. John Barrett FLP is the owner of real property situated in Asylum

Township, Bradford County, Pennsylvania, described as Tax Parcel Numbers 04-



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113.00-008-000 and 04-113.00-012-000, consisting of approximately 271.9 acres

in the aggregate (the “John Barrett FLP Property).

      50.   Plaintiff Barto Family LLC (“Barto FLLC”) is a Pennsylvania limited

liability company with its principal place of business in Wyalusing, Pennsylvania.

Each of the members of Barto FLLC resides in and is a citizen of the

Commonwealth of Pennsylvania. Barto FLLC is the owner of real property

situated in Terry and Asylum Townships, Bradford County, Pennsylvania,

described as Tax Parcel Number 46-113-130, consisting of approximately 86.88

acres (the “Barto FLLC Property).

      51.   Plaintiff Clark A. Beebe is an adult individual residing in Sussex

County, New Jersey, a citizen of the State of New Jersey, and the owner of real

property situated in Asylum Township, Bradford County, Pennsylvania, described

as Tax Parcel Numbers 04-100.00-130-000-000, 04-100.00-176-000-000,04-

100.00-186-000-000, 04-100.00-190-000-000, 04-100.00-191-000-000, and Tax

Parcel Number 04-101.00-160-000-000 and 04-101.00-161-000-000, consisting of

approximately 333 acres in the aggregate (collectively, the “Beebe Property”).

      52.   Plaintiffs Clark A. Beebe and Donna L. Beebe, Trustees of the Beebe

Living Trust dated June 21, 2010 (the “Beebe Living Trust”), are adult individuals

residing in Morris County, New Jersey, and citizens of the State of New Jersey.

Each of the beneficiaries of the Beebe Living Trust also resides in and is a citizen



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of the State of New Jersey. The Beebe Living Trust is the owner of real property

situated in Asylum Township, Bradford County, Pennsylvania, described as Tax

Parcel Number 04-100.00-149-000-000, consisting of approximately 78 acres of

land, more or less (collectively, the “Beebe Trust Property”).

      53.    Plaintiffs David J. Bride and Diane V. Bride, Individually and trading

as Bride Family Limited Partnership (“Bride FLP”), are adult individuals residing

in Towanda, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the

general partners of Bride FLP, a Pennsylvania limited partnership with its principal

place of business in Towanda, Pennsylvania. Each of the limited partners of Bride

FLP also is a citizen of the Commonwealth of Pennsylvania. Bride FLP is the

owner of real property situated in Asylum Township, Bradford County,

Pennsylvania, described as Tax Parcel Numbers 04-101.00-169 (consisting of

approximately 134.450 acres) and 04-101.00-140-002-000 (consisting of

approximately 25.620 acres) (collectively, the “Bride FLP Property”).

      54.    Plaintiffs Michael R. Bride and Shirley Bride trading as Marshview

Family Limited Partnership (“Marshview FLP”) are adult individuals residing in

Towanda, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the

general partners of Marshview FLP, a Pennsylvania limited partnership with its

principal place of business in Towanda, Pennsylvania. Each of the limited partners

of Marshview FLP also resides in and is a citizen of the Commonwealth of



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Pennsylvania. Marshview FLP is the owner of real property situated in Asylum

Township, Bradford County, Pennsylvania, described as Tax Parcel Number 04-

101-168, consisting of approximately 291.9 acres in the aggregate (the

“Marshview FLP Property”).

      55.   Plaintiff Paula A. Bruyn is an adult individual residing in Wyalusing,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and is the owner

of: an undivided one-fourth (1/4) interest in real property situated in Colley

Township, Sullivan County, Pennsylvania, described as Tax Parcel Number 02-

080-0003, consisting of approximately 48.461 acres (the “Bruyn Property”).

      56.   Plaintiffs Russell E. Bulick and Cathy Ann Brady are adult

individuals residing in Towanda, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 46-113-129.1,

consisting of approximately 20.26 acres (the “Bulick/Brady Property”).

      57.   Plaintiff Cahill Realty Business Trust is a business trust organized and

existing under Pennsylvania law with its primary place of business located in the

Commonwealth of Pennsylvania, a citizen of the Commonwealth of Pennsylvania,

and the owner of a real property situated in Overton Township, Bradford County,

Pennsylvania, described as Tax Parcel Number 28-122-5, consisting of

approximately 2824 acres (the “Cahill Realty Property”).



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      58.   Plaintiff Ronald L. Campbell is an adult individual residing in

Wyalusing, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the

owner of real property situated in Wyalusing Township, Bradford County,

Pennsylvania, described as Tax Parcel Number 61-103-97 (consisting of

approximately 74.8 acres) and 61-103-92 (consisting of approximately 104.3

acres), together consisting of a total of approximately 179.1 acres in the aggregate

(collectively, the “Ronald Campbell Property”).

      59.   Plaintiffs James E. Canfield and Freda L. Canfield are adult

individuals residing in New Albany, Pennsylvania, citizens of the Commonwealth

of Pennsylvania, and the owners of real property situated in Albany Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 02-124-92,

consisting of approximately 30.5 acres (the “Canfield Property”).

      60.   Plaintiffs Richard A. Card, Jr. and Candy S. Card are adult individuals

residing in Laceyville, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Tuscarora Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 54-104-106.3,

consisting of approximately 17.3977 acres (the “Card Property”).

      61.   Plaintiffs Erven E. Crawford and June Crawford are adult individuals

residing in New Albany, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,



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Bradford County, Pennsylvania, described as Tax Parcel Numbers 46-136-11

(consisting of approximately 37.00 acres) and 46-124-156 (consisting of

approximately 166.9000 acres (the “Crawford Property”).

      62.   Plaintiff DJH & PAH, LLC, trading as WGH & HBH, LP, is a

Pennsylvania limited liability company with its principal place of business in New

Albany, Pennsylvania, and is the general partner of WGH & HBH, LP, a

Pennsylvania limited partnership also with its principal place of business in New

Albany, Pennsylvania. All of the members of DJH & PAH, LLC, and all of the

limited partners of WGH & HBH, LP, reside in and are citizens of the

Commonwealth of Pennsylvania. WGH & HBH, LP is the owner of real property,

or royalty interests in the mineral rights to real property, situated in Albany

Township, Bradford County, Pennsylvania, including but not limited to: a property

described as Tax Parcel 02-123-120 (consisting of approximately 10.00 acres); an

undivided two-thirds (2/3) interest in a property described as Tax Parcel Numbers

02-123-121 (consisting of approximately 125.500 acres); and a property described

as Tax Parcel Number 02-123-125 (consisting of approximately 27.6 acres), as

well as an additional ten acres, the tax parcel number of which is not known

(collectively, the “WGH & HBH, LP Property”).

      63.   Plaintiff DJH & WGH, LLC, trading as Henry Brothers, L.P., is a

Pennsylvania limited liability company with its principal place of business in New



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Albany, Pennsylvania, and is the general partner of Henry Brothers, L.P., a

Pennsylvania limited partnership also with its principal place of business in New

Albany, Pennsylvania. All of the members of DJH & WGH, LLC, and all of the

limited partners of Henry Brothers, L.P., reside in and are citizens of the

Commonwealth of Pennsylvania. Henry Brothers, L.P. is the owner of real

property, or royalty interests in the mineral rights to real property, situated in

Albany Township, Bradford County, Pennsylvania, described as Tax Parcel

Numbers 02-123-110 (consisting of approximately 22.9 acres); 02-123-111

(consisting of approximately 1.7700 acres); and 02-123-113 (consisting of

approximately 18.0 acres) (the “Henry Brothers, L.P. Property”).

      64.    Plaintiff DP Investments, LLC (“DP Investments”) is a Pennsylvania

limited liability company with its principal place of business in New Albany,

Pennsylvania. Each of the members of DP Investments resides in and is a citizen of

the Commonwealth of Pennsylvania. DP Investments is the owner by assignment

of an undivided one-eighth interest in all of the lessor’s rights under an oil and gas

lease to property situated in Albany Township, Bradford County, Pennsylvania,

described as Tax Parcel Number 02-5-5G, consisting of approximately 150.02

acres (the “DP Investments Property).

      65.    Plaintiffs Paul DeNault and Valarie DeNault are adult individuals

residing in New Albany, Pennsylvania, citizens of the Commonwealth of



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Pennsylvania, and the owners of real property situate in New Albany Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 02-124.00-

152.001, consisting of approximately 2.0 acres (the “DeNault Property”).

      66.    Plaintiff Robert L. Dibble, Jr., is an adult individual residing in New

Albany, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the

owner of real properties situated in Albany Township, Bradford County,

Pennsylvania, described as Tax Parcel Numbers 02-124-150 (consisting of

approximately 1.12 acres) and 02-135-61 (consisting of approximately 59.17 acres)

(collectively, the “Dibble Property”).

      67.    Plaintiff Brian R. Driscoll is an is an adult individual residing in

Canton, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the

owner of undivided interests in real properties situated in Overton Township,

Bradford County, Pennsylvania, including: (a) a one-sixth (1/6) interest a property

described as Tax Parcel Numbers 28-122-006 (consisting of approximately 163.6

acres) (“Driscoll Property 1”); (b) a one-sixth (1/6) interest in a property described

as Tax Parcel Number 28-133-012 (consisting of approximately 100 acres)

(“Driscoll Property 2”); and (c) a one-fourth (1/4) interest in a property described

as Tax Parcel Number 28-133-013 (consisting of approximately 140 acres)

(“Driscoll Property 3”).




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      68.     Plaintiffs Charles L. Emerson and Pamela J. Emerson are adult

individuals residing in Wysox, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Standing Stone

Township, Bradford County, Pennsylvania, described as Tax Parcel Number 43-

075.00-196-000, consisting of approximately 21.376 acres (the “Emerson

Property”).

      69.     Plaintiff Epler Family LLC (“Epler FLLC”) is a Pennsylvania limited

liability company with its principal place of business in New Albany,

Pennsylvania. Each of the members of Epler FLLC resides in and is a citizen of the

Commonwealth of Pennsylvania. Epler FLLC is the owner of real property situated

in Albany Township, Bradford County, Pennsylvania, described as Tax Parcel

Numbers 02-124-114 and 02-124-116, consisting of approximately 146.16 acres in

the aggregate (the “Epler Property”), pursuant to a Corrective Deed dated June 18,

2010, and recorded March 4, 2011, at Instrument No. 201106242, from Robert H.

Epler and Judy N. Epler.

      70.     Plaintiff F & M Robinson, LLC (“Robinson LLC”) trading as Francis

& Maxine Robinson Family Limited Partnership (“Robinson FLP”), is a

Pennsylvania limited liability company with its principal place of business in

Towanda, Pennsylvania, and is the general partner of Robinson FLP, a

Pennsylvania limited partnership also with its principal place of business in



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Towanda, Pennsylvania. All of the members of Robinson LLC, and all of the

limited partners of Robinson FLP, reside in and are citizens of the Commonwealth

of Pennsylvania. Robinson FLP is the owner of real property situated in Monroe

Township, Bradford County, Pennsylvania, described as Tax Parcel Number 25-

100-34, consisting of approximately 167.22 acres in the aggregate (collectively, the

Robinson FLP Property”).

      71.   Plaintiff Foster Family Farm LLC (“Foster FLLC”) is a Pennsylvania

limited liability company with its principal place of business in Towanda,

Pennsylvania. All of the members of Foster FLLC reside in and are citizens of the

Commonwealth of Pennsylvania. Robsinson FLLC is the owner of real property

situated in Wysox Township, Bradford County, Pennsylvania, described as Tax

Parcel Number 62-74-14, consisting of approximately 284.96 acres (the “Foster

FLLC Property”).

      72.   Plaintiffs E. Larry Franklin and Carol Franklin are adult individuals

residing in Laceyville, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Wilmot Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 58-127-92,

consisting of approximately 24.55 acres (“Franklin Property 2”).

      73.   Plaintiffs Thomas R. Frederick and Deborah Frederick a/k/a Deborah

S. Frederick trading as FH Ranch Family Limited Partnership (“FH Ranch FLP”),



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are adult individuals residing in Wyalusing, Pennsylvania, are citizens of the

Commonwealth of Pennsylvania, and are the general partners of FH FLP, a

Pennsylvania limited partnership with its principal place of business in Wyalusing,

Pennsylvania. Each of the limited partners of FH FLP also resides in and is a

citizen of the Commonwealth of Pennsylvania. FH FLP is the owner of real

property situated in Herrick and Standing Stone Townships, Bradford County,

described as Tax Parcel Numbers 20-89-85 and 20-89-86, consisting of

approximately 148.58 acres in the aggregate (the “FH Ranch FLP Property”).

      74.    Plaintiff Theodore B. Gatto a/k/a Theodore Gatto, Individually and as

Administrator of the Estate of Penny June Gatto, Deceased, is an adult individual

residing in New Albany, Pennsylvania, a citizen of the Commonwealth of

Pennsylvania, and the owner of real property situated in Terry and Albany

Townships, Bradford County, Pennsylvania, described as Tax Parcel Number 46-

136-11, consisting of approximately 79 acres (the “Gatto Property”). All of the

beneficiaries of the Estate of Penny June Gatto also reside in and are citizens of the

Commonwealth of Pennsylvania.

      75.    Plaintiff      Gowan          Resource         Management           LLC

(“Gowan LLC”), trading as R&E Gowan Family Limited Partnership (“R&E

Gowan FLP”), is a Pennsylvania limited liability company with its principal place

of business in Wyalusing, Pennsylvania, a citizen of the Commonwealth of



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Pennsylvania, and is the general partner of Gowan FLP, a Pennsylvania limited

partnership which also has its principal place of business in Wyalusing,

Pennsylvania. All of the members of Gowan LLC, and all of the limited partners of

Gowan FLP, reside in and are citizens of the Commonwealth of Pennsylvania or

the State of New York. R&E Gowan FLP is the owner of real property situated in

Albany and Terry Townships, Bradford County, Pennsylvania, described as Tax

Parcel Numbers: 02-124-33 (consisting of approximately 83 acres); and 46-124-

186 (consisting of approximately 82.63 acres) (together, the “R&E Gowan FLP

Property”).

      76.     Plaintiffs James E. Grimes and Barbara P. Grimes are adult

individuals residing in Wysox, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Wysox Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 62-75-119,

consisting of approximately 215.90 acres (the “Grimes Property”).

      77.     Plaintiff F. Robert Hauss and Carol Hauss trading as Hauss Family

Limited Partnership (“Hauss FLP”) are adult individuals residing in New Albany,

Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the general

partners of Hauss FLP, a Pennsylvania limited partnership with its principal place

of business in New Albany, Pennsylvania. Each of the limited partners of Hauss

FLP also resides in and is a citizen of Pennsylvania. Hauss FLP is the owner of real



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property situated in Albany Township, Bradford County, Pennsylvania, described

as Tax Parcel Numbers 02-124-16 and 02-124-108.1, consisting of approximately

146.16 acres in the aggregate (collectively, the “Hauss FLP Property”).

      78.   Plaintiffs Walter G. Henry, Jr. and Cheryl A. Henry (a/k/a Cheryl R.

Henry) are adult individuals residing in New Albany, Pennsylvania, citizens of the

Commonwealth of Pennsylvania, and the owners of real property situated in

Albany Township, Bradford County, Pennsylvania, described as Tax Parcel

Numbers 02-123-112 (consisting of approximately 0.78 acres), 02-113-123

(consisting of approximately 1.350 acres) and 02-113-124 (consisting of

approximately 4.0 acres), and an undivided one-third interest in Tax Parcel No. 02-

123-121 (consisting of approximately 62.750 acres) (collectively, the “Walter and

Cheryl Henry Property”).

      79.   Plaintiffs Richard W. Jackson and Dolores B. Jackson, Trustees of the

Jackson Trust dated July 1, 2002 (the “Jackson Trust”), are adult individuals

residing in Mansfield, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of a 55.23607% undivided interest in and to all of

the oil, gas and any and all hydrocarbons including those located within any

minerals in and under and that may be produced from land situated in Wyalusing

Township, Bradford County, Pennsylvania, described as Tax Parcel Number 61-

101.00-171-000-000, consisting of approximately 106 acres (the “Jackson Trust



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Property”). All of the beneficiaries of the Jackson Trust also reside in and are

citizens of Pennsylvania.

      80.    Plaintiff Theodore A. Johnson is an adult individual residing in

Towanda, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the

owner of real property situated in Asylum Township, Bradford County,

Pennsylvania, described as Tax Parcel Numbers 04-101.00-130-000 (consisting of

approximately 48 acres), 04-101.00-145-000 (consisting of approximately 32.95

acres), and 04-101.00-146-000 (consisting of approximately 3.5 acres (collectively,

the “Theodore Johnson Property”).

      81.    Little Fall R & R, Inc. (“Little Fall”), is a Pennsylvania corporation

with its principal place of business in Albany Township, Bradford County,

Pennsylvania, and the owner of real property situated in Albany Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 02-124-87

(consisting of approximately 54 acres) (the “Little Fall Property”).

      82.    Plaintiff Bonnie C. Long is an adult individual residing in Pennsburg,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the owner of

an undivided one-third (1/3) interest in real property situated in Colley Township,

Sullivan County, Pennsylvania (a portion of which also is located in Wilmot

Township, Bradford County), described as Tax Parcel Numbers 02-094-0001,




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consisting of approximately 104.08 acres, and 02-080-0003-001, consisting of

approximately 2.5 acres (the “Long Property”).

      83.     Plaintiffs Richard D. Marshall and Sandra L. Marshall are adult

individuals residing in Wyalusing, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,

Bradford County, Pennsylvania, described as Tax Parcel Number 46-114-10.1,

consisting of approximately 20.42 acres (the “Marshall Property”).

      84.     Plaintiff Wilson F. Martin a/k/a Wilson F. Martin, Jr., and Mary Ellen

Martin are adult individuals residing in Towanda, Pennsylvania, citizens of the

Commonwealth of Pennsylvania, and the owners of real property situated in

Wysox Township, Bradford County, Pennsylvania, described as Tax Parcel

Number 62-074.00-063, consisting of approximately 42.78 acres (the “Martin

Property”).

      85.     Plaintiff Neva S. Minarik is an adult individual residing in Muncy

Valley, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the

owner of an undivided one-fifth (1/5) interest in real property situated in Colley

Township, Sullivan County, Pennsylvania (a portion of which also is located in

Wilmot Township, Bradford County), described as Tax Parcel Numbers 02-094-

0001, consisting of approximately 104.08 acres, and 02-080-0003-001, consisting

of approximately 2.5 acres (the “Minarik Property”).



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      86.   Plaintiffs David W. Moon and Mary J. Moon trading as Moonhaven

Family Limited Partnership (“Moonhaven FLP”) are adult individuals residing in

New Albany, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and

the general partners of Moonhaven FLP, a Pennsylvania limited partnership with

its principal place of business in New Albany, Pennsylvania. Each of the limited

partners of Moonhaven FLP also resides in and is a citizen of Pennsylvania.

Moonhaven FLP is the owner of real property situated in Windham Township,

Wyoming County, Pennsylvania, described as Tax Parcel Numbers 29-067.00-003-

02-00-00, consisting of approximately 3.04 acres (“Moonhaven FLP Property 1”),

and real property situated in Albany and Terry Townships, Bradford County,

Pennsylvania, described as Tax Parcel Numbers 02-124-152 and 02-135-63

(Albany Township) and 46-136-10 (Terry Township), consisting of approximately

193.53 acres in the aggregate (originally described as 131.89 acres, but

subsequently increased, following survey, by Amendment and Ratification of Oil

and Gas Lease effective May 11, 2006 and recorded on April 12, 2013

(“Moonhaven FLP Property 2”).

      87.   Plaintiff MorChar, LLC (“MorChar”) trading as M&C Fassett Family

Limited Partnership (“M&C FLP”), is a Pennsylvania limited liability company

with its principal place of business in Laceyville, Pennsylvania, and is the general

partner of M&C FLP, a Pennsylvania limited partnership also with its principal



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place of business in Laceyville, Pennsylvania. All of the members of MorChar, and

all of the limited partners of M&C FLP, reside in and are citizens of the

Commonwealth of Pennsylvania. M&C FLP is the owner of real property situated

in Tuscarora Township, Bradford County, Pennsylvania, described as Tax Parcel

Numbers: 54-091.00-083-000-000; 54-091.00-083-001-000; 54-091-00-084-000-

000; and 54-104.00-110-000-000; consisting of approximately 286.712 acres in the

aggregate (collectively, the M&C FLP Property”).

      88.   Plaintiffs Kent L. Morgan and M. Patricia Nelson are adult individuals

residing in Englewood, Florida, citizens of the State of Florida, and the owners of

real property situated in Fox Township, Sullivan County, Pennsylvania, described

as Tax Parcel Numbers 9-106-65 and 9-92-16, consisting of approximately

176.643 acres in the aggregate (collectively, the “Morgan/Nelson Property”).

      89.   Plaintiffs Wesley G. Mosier and Barbara E. Mosier, a/k/a Barbara E.

Kissell are adult individuals residing in Towanda, Pennsylvania, citizens of the

Commonwealth of Pennsylvania, and the owners of three parcels of real property

totaling approximately 313.32 acres, including: (a) a property situated in North

Towanda Township, Bradford County, Pennsylvania, described as Tax Parcel

Number 51-73-167 (consisting of approximately 296.66 acres); (b) a property

situated in Asylum Township, Bradford County, Pennsylvania (consisting of

approximately 12.07 acres); and (c) a property situated in Asylum Township,



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Bradford County, Pennsylvania (consisting of approximately 4.59 acres)

(collectively, the “Mosier Property”).

      90.    Plaintiff Mosier Real Estate Management Co., LLC (“Mosier LLC”)

is a Pennsylvania limited liability company with its principal place of business in

Towanda, Pennsylvania, and is the general partner of Mosier Family Royalty

Management, LP (“Mosier Family LP”), a Pennsylvania limited partnership also

with its principal place of business in Towanda, Pennsylvania. All of the members

of Mosier LLC, and all of the limited partners of Mosier Family LP, reside in and

are citizens of the Commonwealth of Pennsylvania. Mosier Family LP is the owner

by assignment from Wesley Mosier and Barbara Mosier of all right, title and

interest in and to royalties under certain oil and gas leases of two parcels of real

property totaling approximately 309 acres, including: (a) a property situated in

North Towanda Township, Bradford County, Pennsylvania, described as Tax

Parcel Number 51-73-167 (consisting of approximately 296.66 acres); and (b) a

property situated in Asylum Township, Bradford County, Pennsylvania, described

as Tax Parcel Number 4-101-53 (consisting of approximately 12.07 acres)

(together, the “Mosier Family LP Property”).

      91.    MS & JC Doss, LLC (“Doss LLC”) trading as M & J Doss, LP (“Doss

LP”), is a Pennsylvania limited liability company with its principal place of

business in Albany Township, Pennsylvania, and is the general partner of Doss LP,



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a Pennsylvania limited partnership also with its principal place of business in

Albany Township, Pennsylvania. Each of the members of MS & JC Doss, LLC,

and each of the limited partners of Doss LP, resides in and is a citizen of the

Commonwealth of Pennsylvania. Doss LP holds royalty interests in the oil, gas

and other minerals produced from a real property situated in Albany and Monroe

Townships, Bradford County, Pennsylvania, described as Tax Parcel Number 02-

124-86 (consisting of approximately 91.6 acres) and Tax Parcel Number 25-123-32

(consisting of approximately 19.9 acres) (the “Doss LP Property”), pursuant to

assignment of an oil and gas lease from Michael Doss and Joan Doss.

      92.     Plaintiff Doris J. Newton is an adult individual residing in Wyalusing,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the owner of

real property situated in Asylum and Terry Townships, Bradford County,

Pennsylvania, described as Tax Parcel Numbers: 04-113-132 (consisting of

approximately 28.145 acres); 04-101-118 (consisting of approximately 90.55

acres); and 04-113-42 (consisting of approximately 8 acres), consisting of

approximately 126.695 acres in the aggregate (collectively, the “Doris Newton

Property”).

      93.     Plaintiffs H. Timothy Newton and Renee S. Newton are adult

individuals residing in Wyalusing, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,



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Bradford County, Pennsylvania, described as Tax Parcel Number 46-113-105,

consisting of approximately 21.75 acres (the “Timothy and Renee Newton

Property”).

      94.     Plaintiffs Shawn Patrick Newton and Nicole D. Newton are adult

individuals residing in Wyalusing, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,

Bradford County, Pennsylvania, described as Tax Parcel Numbers 46-125-55.1

(consisting of approximately 45.42 acres) and 46-125-56 (consisting of

approximately 10.41 acres), consisting of approximately 55.83 acres in the

aggregate (collectively, the “Shawn and Nicole Newton Property”).

      95.     Plaintiffs Walter E. Newton, III and Darlene R. Newton are adult

individuals residing in Wyalusing, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,

Bradford County, Pennsylvania, described as Tax Parcel Numbers: 46-125-50

(consisting of approximately 1.5 acres); 46-125-51 (consisting of approximately

26.95 acres); 46-125-62 (consisting of approximately 2 acres); 46-125-63

(consisting of approximately 7 acres); 46-125-49 (consisting of approximately 10

acres); and 46-125-55 (consisting of approximately 48.81 acres); consisting of

approximately 96.29 acres in the aggregate (collectively, the “Walter and Darlene

Newton Property”).



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      96.    Plaintiffs Walter E. Newton, III and Shawn Newton trading as

Newton Family Limited Partnership (“Newton FLP”) are adult individuals residing

in New Albany, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and

the general partners of Newton FLP, a Pennsylvania limited partnership with its

principal place of business in New Albany, Pennsylvania. Each of the limited

partners of Newton FLP also resides in and is a citizen of Pennsylvania. Newton

FLP is the owner of real property located in Terry Township, Bradford County,

Pennsylvania, described as Tax Parcel Numbers: 46-124-160; 46-124-171; 46-125-

25; 46-124-164; and 46-125-128; consisting of approximately 366.93 acres

(collectively, the Newton FLP Property”).

      97.    Plaintiff Outdoor Investment, LLC (“Outdoor LLC”) trading as White

Tail Mountain Well, L.P. (“White Tail LP”) is a Pennsylvania limited liability

company with its registered office in Newtown, Bucks County, Pennsylvania, and

is the general partner of White Tail LP, a Pennsylvania limited partnership also

with its principal place of business in New Albany, Pennsylvania. Each of the

members of Outdoor LLC and each of the limited partners of White Tail LP

resides in and is a citizen of the State of New Jersey. White Tail LP is the owner by

assignment of all of the rights and privileges of the lessor under an oil and gas

lease dated May 2, 2006 with Anadarko, relating to a real property situated in

Wysox Township, Bradford County Pennsylvania, described as Tax Parcel



                                         45
Number 02-123-116, consisting of approximately 150.02 acres (the “White Tail LP

Property”).

      98.     Plaintiff James B. Owen is an adult individual residing in Wyalusing,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the owner of

real property situated in Terry Township, Bradford County, Pennsylvania,

described as Tax Parcel Numbers 46-114-56, consisting of approximately 128.29

acres (the “Owen Property”).

      99.     Plaintiff Lacinda Lou Peterman is an adult individual residing in Pen

Argyl, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and is the

owner of an undivided one-fifth (1/5) interest in real property situated in Colley

Township, Sullivan County, Pennsylvania (a portion of which also is located in

Wilmot Township, Bradford County), described as Tax Parcel Numbers 02-094-

0001, consisting of approximately 104.08 acres, and 02-080-0003-001, consisting

of approximately 2.5 acres (the “Peterman Property”).

      100. Plaintiff Jacqueline T. Place a/k/a Jacqueline J. Place is an adult

individual residing in Wyalusing, Pennsylvania, a citizen of the Commonwealth of

Pennsylvania, and the owner of real property situated in Terry Township, Bradford

County, Pennsylvania, described as Tax Parcel Number 46-113-103.2, consisting

of approximately 35.3 acres (the “Place Property”).




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      101. Plaintiffs Jerry L. Price and Claudia C. Price are adult individuals

residing in Wyalusing, Pennsylvania, citizens of the Commonwealth of

Pennsylvania, and the owners of real property situated in Terry Township,

Bradford County, Pennsylvania, described as Tax Parcel Numbers: 46-113-117 and

46-114-14.1 (together consisting of approximately 184.31 acres); and 46-124-

187.1 (consisting of approximately 1 acre); consisting of approximately 185.3

acres in the aggregate (the “Price Property”).

      102. Plaintiffs Milton Repsher a/k/a Milton H. Repsher, Sr., and Neta

Repsher a/k/a Neta V. Repsher trading as M&N Repsher Partners Limited

Partnership (“Repsher LP”) are adult individuals residing in Laceyville,

Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the general

partners of Repsher LP, a Pennsylvania limited partnership with its principal place

of business in Laceyville, Pennsylvania. Each of the limited partners of Repsher

LP also resides in and is a citizen of the Commonwealth of Pennsylvania. Repsher

LP is the owner of real property situated in Tuscarora and Wilmot Townships,

Bradford County, Pennsylvania, described as Tax Parcel Numbers: 54-104-106.2

(consisting of approximately 47.2 acres); 54-104-105 (consisting of approximately

50 acres); 54-104-106 (consisting of approximately 14.71 acres); and 58-127-82

(consisting of approximately 24.55 acres); consisting of approximately 136.46

acres in the aggregate (collectively, the Repsher LP Property”).



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      103. Plaintiffs David L. Sandt a/k/a David Leo Sandt, and Maryanne Sandt

are adult individuals residing in Wyalusing, Pennsylvania, citizens of the

Commonwealth of Pennsylvania, and the owners of an undivided interest in real

property situated in Herrick Township, Bradford County, Pennsylvania, described

as Tax Parcel Number 20-090.00-124-000-000, consisting of approximately 179

acres (the “Sandt Property”). Plaintiff David L. Sandt also is the owner of a one-

third interest as a joint tenant in a separate real property situated in Herrick

Township, Pennsylvania, described as Tax Parcel Number 20-090.00-112-000-000,

consisting of approximately 43.00 acres (the “David Sandt Property”).

      104. Plaintiff Rexford Schoonover is an adult individual residing in

Wysox, Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the

owner of real property situated in Standing Stone and Wysox Townships, Bradford

County, Pennsylvania, described as Tax Parcel Number 42-88-111, consisting of

approximately 163 acres (the “Schoonover Property”).

      105. Plaintiffs Paul R. Sites and Sue A. Sites trading as Sites Family

Limited Partnership (“Sites FLP”) are adult individuals residing in Monroeton,

Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the general

partners of Sites FLP, a Pennsylvania limited partnership with its principal place of

business in Monroeton, Pennsylvania. Each of the limited partners of Sites FLP

also resides in and is a citizen of the Commonwealth of Pennsylvania. Sites FLP is



                                         48
the owner of real properties situated in Monroe Township, Bradford County,

Pennsylvania, the first designated as Tax Parcel Numbers 25-99-40.1 and 25-99-

29.2, consisting of a total of 21.175001 acres (initially 23.59 acres, prior to the sale

of 2.411 acres in February 2010) in the aggregate (collectively, the “Sites FLP

Property 1”), and the second designated as Tax Parcel Number 25-99-29,

consisting of approximately 23.7800 acres (initially 24.41 acres) (“Sites FLP

Property 2”).

      106. Plaintiff SL Allen LLC trading as Shirley L. Allen Family Limited

Partnership (“Shirley Allen FLP”) is a Pennsylvania limited liability company with

its principal place of business in Wysox, Pennsylvania, and is the general partner

of Shirley Allen FLP, a Pennsylvania limited partnership also with its principal

place of business in Wysox, Pennsylvania. Each of the members of SL Allen LLC,

and each of the limited partners of Shirley Allen FLP, also resides in and is a

citizen of the Commonwealth of Pennsylvania. Shirley Allen FLP is the owner of

real property situated in Wysox Township, Bradford County Pennsylvania,

described as Tax Parcel Numbers: 62-75-40 (consisting of approximately 2.67

acres); 62-75-49 (consisting of approximately 224.16 acres); 62-75-81 (consisting

of approximately 134.8 acres); 62-75-24 (consisting of approximately 1.15 acres);

62-75-64 (consisting of approximately 16.7 acres); and 62-75-56 (consisting of




                                          49
approximately 29.94 acres); together consisting of approximately 409.42 acres in

the aggregate (collectively, the Shirley Allen FLP Property”).

      107. Plaintiff James P. Snell is an adult individual residing in Towanda,

Pennsylvania, a citizen of the Commonwealth of Pennsylvania, and the owner of

real property situated in Towanda Township, Bradford County, Pennsylvania,

described as Tax Parcel Numbers 50-86-86002 (consisting of approximately 14.93

acres), 50-86-132 (consisting of approximately 70.0 acres), and 50-86-133

(consisting of approximately 26.18 acres), together comprising approximately

111.11 acres (the “James Snell Property”).

      108. Plaintiffs John R. Snell and Michele S. Snell trading as Outback

Family Limited Partnership (“Outback FLP”) are adult individuals residing in

Towanda, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and the

general partners of Outback FLP, a Pennsylvania limited partnership with its

principal place of business in Towanda, Pennsylvania. Each of the limited partners

of Outback FLP also resides in and is a citizen of the Commonwealth of

Pennsylvania. Outback FLP is the owner of real property situated in Asylum

Township, Bradford County, Pennsylvania, descried as Tax Parcel Number 04-

101-33, consisting of approximately 61.37 acres (the “Outback FLP Property”).

      109. Plaintiffs Peter P. Solowiej and Kendra D. Solowiej are adult

individuals residing in Bradford County, Pennsylvania, citizens of the



                                        50
Commonwealth of Pennsylvania, and the owners of real property situated in

Wyalusing Township, Bradford County, Pennsylvania, described as Tax Parcel

Number 61-102-64, consisting of approximately 65.57 acres (the “Solowiej

Property”).

        110. Plaintiffs Robert H. Stoudt, Jr. and Patti L. Stoudt trading as Stoudt

Farm Limited Partnership (“Stoudt Farm LP”) are adult individuals residing in

New Albany, Pennsylvania, citizens of the Commonwealth of Pennsylvania, and

the general partners of Stoudt Farm LP, a Pennsylvania limited partnership with its

principal place of business in New Albany, Pennsylvania. Each of the limited

partners of Stoudt Farm LP also resides in and is a citizen of the Commonwealth of

Pennsylvania. Stoudt Farm LP is the owner of real property situated in Overton

and Albany Townships, Bradford County, Pennsylvania, descried as Tax Parcel

Numbers 28-134-18, 28-134-20, 28-134-20.1 and 28-134-21, consisting of a total

of approximately 176.66 acres (the “Stoudt Farm LP Property”).

        111. Plaintiffs John L. Sullivan a/k/a John M. Sullivan and Christine L.

Sullivan a/k/a Christine Sullivan, individually and trading as 3 Borders FLP, are

adult    individuals   residing   in   Towanda,   Pennsylvania,   citizens   of   the

Commonwealth of Pennsylvania, and the general partners of 3 Borders FLP, a

Pennsylvania limited partnership with its principal place of business in Towanda,

Pennsylvania. Each of the limited partners of 3 Borders FLP also resides in and is a



                                          51
citizen of the Commonwealth of Pennsylvania. 3 Borders FLP is the owner of

interests in real property situated in Asylum Townships, Bradford County,

Pennsylvania, described as Tax Parcel Numbers 04-087.00-051, 04-087.00-077,

04-087.00-079, 04-087.00-090 and 04-087.00-091, consisting of a total of

approximately 168.97 acres (the “3 Borders FLP Property”). John and Christine

Sullivan, his wife, also are the owners of real property consisting of four other

tracts of land in Asylum Township, Bradford County, described as Tax Parcel

Numbers 04-087.00-050.001, 04-087.00-050.002, and 04-087.00-081, consisting

of approximately a total of approximately 14.5 acres (the “John and Christine

Sullivan Property”).

      112. Plaintiffs Mary Alice Sullivan and Katherine S. Barrett, as Trustees of

the Sullivan Family Irrevocable Trust and Individually, as JTWROS, are adult

individuals who respectively reside in Towanda and Athens, Pennsylvania, and are

citizens of the Commonwealth of Pennsylvania. The Sullivan Family Irrevocable

Trust is the owner of an undivided one-third (1/3) interests in and to a fifty-percent

(50%) interest in real property situated in Township, Bradford County,

Pennsylvania, described as Tax Parcel Numbers 04-087.00-051, 04-087.00-077,

04-087.00-079, 04-087.00-090 and 04-087.00-091, consisting of a total of

approximately 317.94 acres (the “Sullivan Family Trust Property”). Mary Alice

Sullivan and Katherine S. Barrett, Individually as JTWROS, also each own an



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undivided one-sixth (1/6) interest in and to a fifty-percent (50%) interest in each of

the same parcels with the exception of Tax Parcel Number 04-087.00-091, as to

which they own the same interest in mineral rights only. The parcels in which they

hold undivided interests will be referred to as the “Sullivan/Barrett Property”, and

the parcel in which they hold interests in the mineral rights will be referred to as

the “Sullivan/Barrett Mineral Interest”.

      113. Plaintiff Tor Tamarack, LLC trading as Thomson Business Ventures,

L.P. f/k/a Thomson Family Limited Partnership (“Thomson LP”) is a Pennsylvania

limited liability company with its principal place of business in Wysox,

Pennsylvania, and is the general partner of Thomson LP, a Pennsylvania limited

partnership also with its principal place of business in Wysox, Pennsylvania. Each

of the limited partners of Thomson LP also resides in and is a citizen of the

Commonwealth of Pennsylvania. Thomson LP is the owner of real property

situated in Standing Stone Township, Bradford County, Pennsylvania, designated

as Tax Parcel Numbers: 43-088.00-112.000 (consisting of approximately 22.90000

acres); 43-088.00-113.000 (consisting of approximately 382.275000 acres); 43-

089.00-138.000 (consisting of approximately 56.06400 acres); 43-089.00-138.002

(consisting of approximately 16.0000 acres); 43-088.00-112.000 (consisting of

approximately    20.495308     acres);     and   43-088.00-113.000   (consisting   of




                                           53
approximately 118.797787 acres); together consisting of a total of approximately

477.190 acres in the aggregate (collectively, the “Thomson LP Property”).

      B.     Defendants

      114.    Defendant Chesapeake Energy Corporation (“Chesapeake Energy”)

is an Oklahoma corporation with its principal place of business in Oklahoma City,

Oklahoma. Chesapeake Energy is a publicly traded oil and gas company which,

through its subsidiaries, including but not limited to Chesapeake Appalachia, is one

of the largest producers of natural gas in the United States.

      115. Chesapeake Energy provides the following summary of its business

on its corporate website:

                   Founded in 1989, Chesapeake’s operations are
             focused on discovering and developing onshore,
             unconventional oil and natural gas fields in the U.S. We
             currently hold leading positions in the Eagle Ford, Utica,
             Granite Wash, Cleveland, Tonkawa, Mississippi Lime
             and Niobrara unconventional liquids plays and the
             Marcellus,      Haynesville/Bossier       and     Barnett
             unconventional natural gas shale plays. The company
             also owns substantial marketing and compression
             businesses.

                    As one of the first to recognize the vast potential of
             shale resources unlocked by advances in horizontal
             drilling techniques, Chesapeake has grown to become the
             second-largest producer of natural gas, 11th largest
             producer of oil and natural gas liquids, and the most
             active driller of onshore wells in the country. 3

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      http://www.chk.com/About/Pages/Default.aspx (last visited December 8, 2014)



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      116. Defendant Chesapeake Appalachia is an Oklahoma limited liability

company with its principal place of business in Oklahoma City, Oklahoma.

Defendant Chesapeake Energy is the sole member of Chesapeake Appalachia.

      117. Defendant Chesapeake Energy Marketing, Inc. (“CEMI”), is am

Oklahoma corporation with its principal place of business in Oklahoma City,

Oklahoma. CEMI is a wholly-owned subsidiary of defendant Chesapeake Energy.

      118. CEMI provides natural gas, oil and NGL marketing services,

commodity price structuring, contract administration and nomination services, for

Chesapeake, other interest owners in Chesapeake-operated wells and other

producers. Among its other activities, CEMI aggregates volumes of gas produced

from multiple wells, including wells located on separately owned properties

pursuant to multiple different mineral leases, which are then sold to various

intermediary markets, end markets and pipelines.

      119.    Defendant Chesapeake Operating, Inc. (“COI”), is an Oklahoma

corporation with its principal place of business in Oklahoma City, Oklahoma. COI

is a wholly-owned subsidiary of defendant Chesapeake Energy.

      120. COI is responsible for the production of gas from leases in which

Chesapeake entities hold the operating interest.




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      121. Defendant       Chesapeake        Exploration,   L.L.C.   (“Chesapeake

Exploration”), is an Oklahoma limited liability company with its principal place of

business in Oklahoma City, Oklahoma. Chesapeake Exploration is the successor in

interest to Chesapeake Exploration, L.P. Chesapeake Exploration, is comprised of

three members: defendant COI (discussed above), Chesapeake E&P Holding

Corporation (a corporation organized under Oklahoma law with its principal place

of business in Oklahoma City, Oklahoma), and defendant Chesapeake Appalachia

(discussed above).

      122. Defendant Williams Partners, LP, f/k/a Access Midstream Partners,

L.P. (“Access Midstream”), is a publicly-traded Delaware limited partnership with

its principal place of business in Tulsa, Oklahoma. Chesapeake Energy formed

Access Midstream (formerly known as Chesapeake Midstream Partners, L.P.) in

2010 to own, operate, develop and acquire natural gas, natural gas liquids and oil

gathering systems and other midstream energy assets. On information and belief,

the general and limited partners of Access Midstream reside or have their principal

places of business in, and are citizens of, states other than Pennsylvania, New

Jersey and New York. The business of Access Midstream is principally focused on

natural gas and NGL gathering, the first segment of midstream energy

infrastructure that connects natural gas and NGLs produced at the wellhead to

third-party takeaway pipelines.



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      123. Defendant Access MLP Operating, L.P. (“Access Operating”), is a

Delaware limited partnership with its principal place of business in Oklahoma

City, Oklahoma. On information and belief, Access Operating is a direct or indirect

subsidiary of Access Midstream, and serves as the operating entity for the natural

gas gathering and transportation business of Access Midstream, and all of the

general and limited partners of Access Operating reside or have their principal

places of business in, and are citizens of, states other than Pennsylvania, New

Jersey and New York.

      124. Defendant Appalachia Midstream Services, L.L.C. (“Appalachia

Midstream”), is an Oklahoma limited liability company with its principal place of

business in Oklahoma. On information and belief, Appalachia Midstream was a

direct or indirect subsidiary of Chesapeake Energy

      125. Defendant Anadarko E&P Onshore LLC, successor by conversion to

and f/k/a Anadarko E&P Company, L.P. (“Anadarko E&P”), is a Delaware limited

liability company with its registered address in Delaware and its principal place of

business in Houston, Texas. It is a wholly-owned by Anadarko USH1 Corporation,

a Delaware corporation with its principal place of business in Houston, Texas.

      126. Defendant Statoil USA Onshore Properties, Inc. (“Statoil USA”) is a

Delaware corporation with its principal place of business in Houston, Texas.




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      127. Defendant Mitsui E&P USA LLC (“Mitsui USA”), is a Delaware

limited liability company with its principal place of business in Houston, Texas.

On information and belief, it is a wholly-owned direct or indirect subsidiary of

Mitsui & Co., Ltd. (“Mitsui”), a public company organized and existing under the

laws of Japan, with its principal place of business in Japan.




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IV.   FACTUAL ALLEGATIONS

      A.     The Production, Gathering, Processing and Transportation of
             Natural Gas

      128.     After natural gas is extracted from the ground at the wellhead, and

before it enters interstate transmission pipelines, which are governed by regulations

established by the Federal Energy Regulatory Commission (“FERC”) that limit

the rates that can be charged for the interstate transmission of natural gas, the gas is

first moved through a system of “gathering” pipelines, which consist of relatively

low pressure and small diameter (in comparison to interstate transmission

pipelines) intrastate pipelines that transport raw natural gas from the wellhead,

either to a processing plant, for subsequent delivery either to intrastate

transportation pipelines (which are typically larger diameter, and some of which

are subject to FERC jurisdiction, while others or not), or to major interstate

transmission pipelines, or directly to such intrastate or interstate pipelines. As

illustrated in defendant Access Midstream’s 2013 Annual Report filed with the

Securities and Exchange Commission (“SEC”) on Form 10-K on February 21,

2013, Access Midstream’s business focuses on the gathering and processing of

natural gas between the wellhead and the major transportation pipelines:




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      129. Although FERC regulations limit the rates that can be charged for the

transmission of natural gas through interstate pipelines, to prevent price gouging,

such regulations generally do not apply to limit the rates that can be charged for the

transmission of natural gas through gathering systems and intrastate pipelines.

      B.     The Vertically Integrated, Highly Leveraged Business Models of
             Chesapeake and Anadarko

      130. Once the potential returns from horizontal drilling and fracking

became clear, many oil and gas production companies, including Anadarko and

Chesapeake Energy, embarked on aggressive programs to acquire oil and gas

leases to properties located above multiple shale formations throughout the United

States, including the Marcellus Shale, which is located in Pennsylvania. As

Chesapeake Energy explained in its 2010 Annual Report on Form 10-K, filed on

March 1, 2011:

             … [W]e embarked on an aggressive lease acquisition
             program, which we have referred to as the “gas shale
             land grab” of 2006 through 2008 and the
             “unconventional oil land grab” of 2009 and 2010. We
             believed that the winner of these land grabs would enjoy
             competitive advantages for decades to come as other



                                         60
              companies would be locked out of the best new
              unconventional resource plays in the U.S.

Chesapeake Energy Corporation Annual Report on Form 10-K, filed March 1,

2011,

at 4.

        131. At the same time, both Chesapeake and Anadarko pursued vertically

integrated business models that included not only the production of natural gas, but

also related interlocking business opportunities in midstream gathering pipelines

and services, and, in the case of Chesapeake, in compression, drilling, marketing

and trucking services.

        132. To fund its gas shale land grab, and the related aggressive growth and

development of its interlocking vertical businesses, Chesapeake Energy borrowed

increasingly greater amounts of money, resulting in it having a highly leverage

balance sheet, including current liabilities of $7 billion, and long term liabilities of

almost $17 billion, by the end of 2011.

        C.    Anadarko and Chesapeake Acquire Oil and Gas Leases
              In and Around Bradford County

        133. The Marcellus Shale formation, located in and beyond Pennsylvania,

soon was determined to contain one of the largest natural gas reserves in the world.

        134. Both Anadarko Petroleum Corporation (“Anadarko”) (the ultimate

corporate parent of Anadarko E&P) and Chesapeake targeted Bradford County,



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Pennsylvania for an aggressive lease acquisition program, and for development of

the natural gas gathering systems that would be necessary to support its drilling

and production business.

      135. Beginning in or about 2006, Anadarko E&P acquired hundreds of oil

and gas leases to properties in Bradford County, Pennsylvania, and in surrounding

counties, both by entering into such leases itself and through T.S. Calkins &

Associates, Inc. (“T.S. Calkins”).

      D.     Anadarko and Chesapeake Enter Into a Joint Exploration
             Agreement and Establish the AMI

      136. On information and belief, Anadarko E&P entered into a 50/50 Joint

Exploration Agreement dated September 1, 2006 with Chesapeake Energy and/or

CALLC (and/or its affiliates) (the “Joint Exploration Agreement”), covering

portions of Bradford, Sullivan, Susquehanna and Wyoming Counties within an

area of mutual interest that the parties to the agreement as “Area A” (previously

defined as the “AMI”), and agreed that CALLC would serve as the operator of the

leases within the AMI. Pursuant to the agreement, Anadarko E&P also assigned,

subject to certain reservations and exceptions, fifty percent (50%) of its right, title

and interest in and to the Leases under which Plaintiffs hold royalty interests to

CALLC, pursuant to a series of Partial Assignments of Oil and Gas Leases.

      137. Anadarko E&P and the Chesapeake Defendants have peculiar

knowledge of the terms of the Joint Exploration Agreement, and any

                                          62
contemporaneous related agreements, which have not been publicly filed or

disclosed by any of them.

      138. On information and belief, the Joint Exploration Agreement, or

contemporaneous or subsequent agreements, also provided that Chesapeake or one

or more of its affiliates would be an owner and the operator of gathering systems to

be constructed to service the anticipated wells to be drilled by or on behalf of

CALLC, and that Anadarko E&P or its affiliates would receive a proportionate

ownership interest in the anticipate gathering systems and pipelines.

      139. Initial construction of gathering and midstream assets within the AMI

commenced in or about May 2008.

      140. Anadarko E&P subsequently entered into an Appalachian Area

Participation Agreement, dated effective January 1, 2010, with Mitsui E&P, and

also assigned, subject to certain reservations and exceptions, undivided interests in

its right, title and interest in and to the Leases under which Plaintiffs hold royalty

interests to Mitsui E&P, pursuant to a series of Partial Assignments of Oil and Gas.

      E.     The Joint Venture Between Chesapeake and Statoil

      141.   In November 2008, Chesapeake and/or CALLC entered into an

industry participation agreement (commonly referred to as a joint venture) with

Statoil ASA (“Statoil”), pursuant to which Chesapeake sold Statoil or affiliates a

minority interest in CALLC’s leaseholds, producing properties and other assets



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located in the Marcellus Shale play (including working interests in the leases in

which Plaintiffs hold royalty interests, as well as ownerships interest in certain

gathering systems) in consideration for an upfront cash payment of $1.250 billion

plus a commitment by Statoil to pay 75% of Chesapeake’s drilling and completion

costs in the play until $2.125 billion has been paid. Chesapeake serves as the

operator, and conducts all leasing, drilling, completion, operations and marketing

activities in connection with the Statoil joint venture.

      F.     Plaintiffs’ Royalty Interests

      142. Each of the following Plaintiffs or their respective predecessors in

interest entered into a fully paid up oil and gas lease with Anadarko E&P, pursuant

to which the respective Plaintiffs hold royalty interests in the natural gas produced

and marketed from the leases premises:

                            LEASED                 ORIGINAL         LEASE
PLAINTIFF(S)                PREMISES               LESSOR(S)        DATE

A&B Campbell Family         Campbell Property      Andy Campbell    08/07/2006
LLC
Amber A. Adams              Amber Adams            Burton R.        3/27/2006
                            Property 1             Adams
Amber A. Adams              Amber Adams            Burton R.        3/27/2006
                            Property 2             Adams
Burton R. Adams             Burton Adams           Burton R.        3/27/2006
                            Property               Adams
Adams’ Tyler Mountain       Adams’ Tyler           Burton R.        3/27/2006
Limited Partnership,        Mountain LP            Adams &
                            Property               Joanne M.
                                                   Adams
Libbie A. Adams             Libbie Adams           Plaintiff        3/27/2006

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                         Property
Sherwood G. Adams        Sherwood Adams        Plaintiff           3/27/2006
                         Property
Toby L. Adams            Toby Adams            Plaintiff           3/27/2006
                         Property
James P. Ahern           Ahern Property        Plaintiff           8/4/2006
Barto Family LLC         Barto FLLC            George E. &         3/4/2006
                         Property              Dolores Barto
Paula A. Bruyn           Bruyn Property        Plaintiff           3/27/2006
Russell E. Bulick &      Bulick/Brady          Plaintiffs          7/18/2006
Cathy Ann Brady          Property
Ronald L. Campbell       Ronald Campbell       Plaintiff           8/1/2006
                         Property
James E. Canfield &      Canfield Property     Plaintiffs          7/20/2006
Freda L. Canfield
Richard A. Card, Jr. &   Card Property         Plaintiffs          6/7/2006
Candy S. Card
Erven E. Crawford &      Crawford Property     Plaintiffs          5/17/2006
June Crawford
DJH & PAH, LLC t/a       WGH & HBH, LP         Donald J. Henry 5/2/2006
WGH & HBH, LP            Property              & Patricia A.
                                               Henry
DJH & WGH, LLC t/a       Henry Brothers,       Donald J. Henry 5/2/2006
Henry Brothers, L.P.     L.P. Property         Patricia A.
                                               Henry, Walter
                                               G, Henry &
                                               Cheryl A.
                                               Henry
Paul DeNault & Valarie   DeNault Property      Plaintiffs      5/11/2006
DeNault
Robert L. Dibble, Jr.    Dibble Property       Plaintiff           5/22/2006
DP Investments, LLC      DP Investments        Gustaves’s          5/2/2006
                         Property              Seven Bucks
                                               Club
Brian Driscoll           Driscoll Property 1   Carl S. Driscoll,   3/5/2006
                                               Marvin S.
                                               Driscoll, et al.
Brian Driscoll           Driscoll Property 2   Carl S. Driscoll,   3/10/2006
                                               Marvin S.


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                                                  Driscoll & Jule
                                                  Driscoll
Brian Driscoll             Driscoll Property 3    Carl S. Driscoll, 2/24/2006
                                                  Marvin S.
                                                  Driscoll & Jule
                                                  Driscoll
Charles & Pamela       Emerson Property           Plaintiffs        6/28/2006
Emerson
Foster Family Farm LLC Foster FLLC             Rosemarie           4/6/2006
                       Property                Foster and
                                               Gregory Foster
E. Larry Franklin and      Franklin Property 2 Plaintiffs          5/23/2006
Carol Franklin
Thomas R. Frederick &      FH Ranch FLP           Thomas R.        5/20/2006
Deborah Frederick t/a      Property               Frederick &
FH Ranch Family                                   Deborah
Limited Partnership                               Frederick
Theodore B. Gatto,         Gatto Property         Penny Gatto      5/17/2006
Individually and as
Admin. of the Estate of
Penny June Gatto,
Deceased
Walter G. Henry, Jr. and   Walter and Cheryl      Plaintiffs       5/2/2006
Cheryl A. Henry a/k/a      Henry Property
Cheryl R. Henry
Richard W. Jackson and     Jackson Trust          Shirley L.      7/12/2006
Dolores B. Jackson,        Property               Jackson, widow,
Trustees of the Jackson                           by William W.
Trust dated July 1, 2002                          Them, Attorney
                                                  in Fact
Theodore A. Johnson        Theodore Johnson       Plaintiff       6/24/2006
                           Property
Little Fall R & R Inc.     Little Fall Property   Plaintiff        6/29/2006
Bonnie C. Long             Long Property          Plaintiff        3/27/2006
Richard D. & Sandra L.     Marshall Property      Plaintiffs       4/18/2006
Marshall
Wilson F. Martin &         Martin Property        Plaintiffs       6/30/2006
Mary Ellen Martin
Neva S. Minarik            Minarik Property       Plaintiff        3/27/2006


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David W. Moon & Mary        Moonhaven FLP        David W. Moon 5/11/2006
J. Moon t/a Moonhaven       Property 2           & Mary J.
Family LP                                        Moon
MorChar , LLC t/a           M&C FLP              Morris P.     6/5/2006
M&C Fassett Family LP       Property             Fassett &
                                                 Charlotte
                                                 Fassett
Kent L. Morgan & M.         Morgan/Nelson        Plaintiffs    4/26/2006
Patricia Nelson             Property
Wesley G. Mosier &          Mosier Family LP     Plaintiffs      5/8/2006
Barbara E. Mosier, a/k/a    Property
Barbara E. Kissell
Mosier Real Estate Co.,     Mosier Family LP     Wesley G.       5/8/2006
LLC t/a Mosier Family       Property             Mosier and
Royalty Management,                              Barbara E.
LP                                               Mosier
MS & JC Doss, LLC t/a       Doss LP Property     Michael S. Doss 6/29/2006
M & J Doss, LP                                   & Joan C. Doss
Doris J. Newton             Doris Newton         Plaintiff       3/30/2006
                            Property
H. Timothy Newton &         Timothy and Renee    Plaintiffs      3/30/2006
Renee S. Newton             Newton Property
Shawn Patrick Newton        Shawn and Nicole     Plaintiffs      3/20/2006
and Nicole D. Newton        Newton Property
Walter E. Newton, III       Walter and Darlene   Plaintiffs      3/20/2006
and Darlene R. Newton       Newton Property
Walter E. Newton, III       Newton FLP           WAJA Farms,     3/30/2006
and Shawn Newton t/a        Property             Inc.
Newton Family LP
Outdoor Investment,         White Tail LP        Gustave’s       5/2/2006
LLC t/a White Tail          Property             Seven Bucks
Mountain Well, L.P.                              Club, Inc.
Lacinda L. Peterman         Peterman Property    Plaintiff       3/27/2006
Jacqueline T. Place a/k/a   Place Property       Plaintiff       8/14/2006
Jacqueline J. Place
Jerry L. Price & Claudia    Price Property       Plaintiffs      7/14/2006
C. Price
R&E Gowan FLP               R&E Gowan FLP        Elaine Gowan    7/10/2006
                            Property


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Milton Repsher a/k/a         Repsher LP           Milton Repsher   6/7/2006
Milton H. Repsher, Sr.       Property             & Neta Repsher
and Neta Repsher a/k/a
Neta V. Repsher t/a
M&N Repsher Partners
Limited Partnership
David Leo Sandt              David Sandt          David Leo        3/7/2006
                             Property             Sandt, Susan
                                                  Sandt and
                                                  Nancy Sandt
Rexford Schoonover           Schoonover           Plaintiff        4/11/2006
                             Property
Paul R. Sites and Sue A.     Sites FLP Property   Paul R. & Sue    7/14/2006
Sites t/a Sites Family       1                    A. Sites
Limited Partnership
Paul R. Sites and Sue A.     Sites FLP Property   Paul R. & Sue    7/14/2006
Sites t/a Sites Family       2                    A. Sites
Limited Partnership
James P. Snell               James Snell          Plaintiff        6/13/2006
                             Property
Peter P. Solowiej and        Solowiej Property    Plaintiffs       8/11/2006
Kendra D. Solowiej
Robert H. Stoudt, Jr. and    Stoudt Farm LP       Plaintiffs       5/8/2006
Patti L. Stoudt t/a Stoudt
Family Limited
Partnership
Mary Alice Sullivan and      Sullivan Trust       Anne J. Sullivan 7/22/2006
Katherine S. Barrett, Tr     Property
of Sullivan Family Irrev.
Trust
Mary Alice Sullivan and      Sullivan/Barrett     Anne J. Sullivan 7/22/2006
Katherine S. Barrett,        Property
JTWROS
Mary Alice Sullivan and      Sullivan/Barrett     Anne J. Sullivan 7/22/2006
Katherine S. Barrett,        Mineral Interest
JTWROS
3 Borders FLP                3 Borders FLP        John L. Sullivan 7/22/2006
                             Property             and Christine L.
                                                  Sullivan


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Tor Tamarack , LLC t/a      Thomson LP          Thomson            5/4/2006
Thomson Business            Property            Family Limited
Ventures, L.P.                                  Partnership
                                                d/b/a Tor
                                                Tamarack
                                                Farms


      143. Each of the following Plaintiffs or their respective predecessors in

interest entered into a fully paid up oil and gas lease with T.S. Calkins, to which

Anadarko E&P is the successor in interest, pursuant to which the respective

Plaintiffs hold royalty interests in the natural gas produced and marketed from the

leases premises:

                            LEASED              ORIGINAL          LEASE
PLAINTIFF(S)                PREMISES            LESSOR(S)         DATE

Eugene J. Barrett, Jr. &    Eugene Barrett      Plaintiffs        2/2/2006
Lori R. Barrett             Property
James Barrett & Cindy       James Barrett       Plaintiffs        2/9/2006
Barrett                     Property
John M. Barrett t/a John    John Barrett FLP    John M. Barrett   2/9/2006
M. Barrett Family           Property
Limited Partnership
Clark A. Beebe              Beebe Property      Plaintiffs        2/18/2006
Clark A. Beebe & Donna      Beebe Trust         Clark A. Beebe    2/18/2006
L. Beebe, Trustees of the   Property
Beebe Living Trust
dated June 21, 2010
David J. Bride and Diane    Bride FLP Property David J. Bride     1/20/2006
V. Bride, t/a Bride                            & Diane V.
Family Limited                                 Bride
Partnership
Michael R. Bride &          Marshview FLP       Michael R. &     12/29/2005
Shirley Bride t/a           Property            Shirley A. Bride


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Marshview Family
Limited Partnership
Cahill Realty Business     Cahill Realty       Plaintiff        2/4/2006
Trust                      Property
Epler Family LLC           Epler Property      Robert Harry &   2/2/2006
                                               Larry R. Epler
F&M Robinson, LLC t/a      Robinson FLP        Francis E.       1/11/2006
Francis & Maxine           Property            Robinson &
Robinson Family                                Maxine P.
Limited Partnership                            Robinson
James E. Grimes &          Grimes Property     Plaintiffs       2/22/2006
Barbara P. Grimes
F. Robert Hauss & Carol    Hauss FLP           F. Robert Hauss 2/10/2006
Hauss t/a Hauss Family     Property            & Carol Hauss
Limited Partnership
James B. Owen              Owen Property       Plaintiff        2/25/2006
David L. Sandt a/k/a       Sandt Property      Jane M. Pratt,   3/3/2006
David Leo Sandt &                              Trustee of Eva
Maryanne Sandt                                 Mae Sandt
                                               Irrevocable
                                               Residential/
                                               Income Only
                                               Trust dated
                                               August 5, 2004
SL Allen LLC t/a           Shirley Allan FLP   Shirley L. Allen 2/18/2006
Shirley L. Allen Family    Property
Limited Partnership
John R. Snell &            Outback FLP         John R. Snell & 2/28/2006
Michelle S. Snell t/a      Property            Michelle S.
Outback Family Limited                         Snell
Partnership


      144. The Oil and Gas Leases described in which the respective Plaintiffs

hold royalty interests above are sometimes referred to below collectively as

“Plaintiffs’ Leases” or the “Leases.”



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      G.     The Royalty Provisions in Plaintiffs’ Leases

      145. Anadarko E&P and T.S. Calkins each used substantially the same

preprinted form of Lease in connection with each Lease that it entered into with

one of the Plaintiffs, or with his, her or its predecessor in interest, each of which

contains the following provisions regarding royalties:

                   A.     The LESSEE covenants and agrees as
             follows:

                     1st – LESSEE … shall pay the LESSOR on gas …
             produced from the premises and used off the premises or
             lands pooled therewith or in the manufacture of gasoline,
             or other products therefrom, or sold (whether to an
             affiliated or non-affiliated purchaser) the market value at
             the well of one-eighth (1/8th) of the gas so used or sold.
             In no event shall the gas royalty payable hereunder be
             computed on the basis of a price the collection of which
             by LESSEE is unlawful or prohibited by order or
             regulation of any governmental authority having
             jurisdiction, and market value at the well shall not exceed
             the amount realized by LESSEE for such production
             computed at the well…. LESSEE may pay all taxes and
             fees levied upon LESSOR’s royalty share of production
             of oil and gas and deduct the amount so paid from any
             monies payable to LESSOR hereunder….

                   *            *             *           *

             B.    It is mutually agreed by and between LESSOR
             and LESSEE as follows:

             6th – LESSEE is hereby granted the right to pool or
             unitize all or any part of the premises with any other
             leases, lands, oil or gas estates, or any of them whether
             owned by the LESSEE or others, so as to create one or
             more drilling or production units. Such units shall not

                                         71
             exceed 640 acres in extent provided, however, that if any
             Federal or State law, Executive order, rule or regulation
             shall prescribe a spacing pattern for the development of
             the field or allocate a producing allowable on acreage per
             well, then such units may embrace as much additional
             acreage as may be prescribed or as may be use in such
             allocation or allowable. LESSEE shall record a copy of
             the unit operation designation in the county in which the
             premises are located…. As to each such unit, LESSOR
             agrees to accept, in lieu of the royalty herein described,
             such proportion of such royalty as the acreage in the
             premises in such unit bears to the total acreage included
             in such unit….


      146. Certain of Plaintiffs’ Leases include addenda or exhibits which

contain language increasing the royalty rate specified in the body of the preprinted

form of Lease to a higher specified rate.

      H.     The Pooling and Unitization of the Leases and Commencement of
             Production of Natural Gas.

      147. Following the execution of the Leases of the respective Plaintiffs, or

their predecessors in interest, the Lessee Defendants pooled, unitized and

combined each of the respective Leases, along with the lands covered by the Lease

and the oil and gas estates therein, with other properties, into one or more

production units, and commenced the drilling of one or more wells in each unit and

the production of gas from such wells, on dates that varied by Lease and by well.

      148. Following the commencement of production of gas from the wells

drilled in each unit into which all or any portion of each Lease was combined, the



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Lessee Defendants began accounting for and paying royalties to those Plaintiffs

who had acreage covered by a Lease under which they held royalty interests

included in the unit.

      I.     The Lessee Defendants Have Taken or Allowed for Deductions of
             Post-Production Costs Which Are Impermissible, or Otherwise
             Arbitrary, Excessive and Unreasonable, in Calculating the
             Royalties Payable to Plaintiffs, Resulting in the Material
             Underpayment of Royalties Due and Owing to Plaintiffs.

      149. Each of the Lessee Defendants, directly or indirectly, has taken,

allowed for or otherwise imposed upon Plaintiffs who have royalty interests in

Leases in which the respective Lessee Defendants hold royalty interests,

deductions for purported post-production costs, including, but not limited to,

purported costs of gas gathering and transportation, in calculating the royalties

payable to Plaintiffs, even though such costs: (i) are not expressly permitted by the

terms of the respective Leases under which Plaintiffs hold royalty interests; (ii)

were not charged at arms-length by or on behalf of entities unaffiliated with the

respective defendants, but were instead charged by entities which were initially

owned by Chesapeake Energy, for the gathering and transportation of gas through

intrastate pipelines owned by some or all of the Lessee Defendants, or their

affiliates; and (iii) were arbitrary, excessive and unreasonable in amount.

      150. The imposition of such charges on the royalties payable to Plaintiffs

breaches the express terms of the relevant Leases and assignments or, in the



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alternative, the covenant of good faith and fair dealing by the Lessee Defendants

that is implied in each of the Leases.

      J.     Plaintiffs Have Satisfied, or Should Be Equitably Excused from
             Satisfying, the Condition Precedent to the Breach of Contract
             Claim Asserted in this Action, If and to the Extent it is Applicable

      151. The Anadarko E&P and T.S. Calkins forms of Lease contain the

following provision conditioning the liability of the Lessee for any failure to

perform its obligations or covenants under the Lease, and the right of the Lessor to

commence a judicial action for damages for breach of the Lease, on the failure of

the Lessee to satisfy or perform its obligation, covenant or condition for a period of

one year following express and specific written demand by Lessor:

                 C.   It is mutually agreed by and between
             LESSOR and LESSEE as follows:

                    7th – . . . This Lease shall not be terminated, in
             whole or in part, nor Lessee held liable for any failure to
             perform unless such obligation, covenant or condition
             remains unsatisfied and unperformed for a period of one
             year following the express and specific written demand
             upon Lessee by Lessor for such satisfaction and
             performance.... No judicial action may be commenced by
             Lessor for forfeiture of this Lease or for damages until
             after said period.

      152. By its terms, the foregoing condition does not apply to any of the

claims asserted in this action against the defendants other than the Lessee

Defendants, and does not apply to any of the claims asserted against the Lessee




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Defendants other than the claim for breach of contract asserted in the Fifth Cause

of Action.

      153. If and to the extent the foregoing condition applies to the breach of

contract claims asserted against the Lessee Defendants in the Fifth Cause of

Action, a majority of the Plaintiffs satisfied the foregoing condition by causing one

of their undersigned counsel, Christopher D. Jones, Esquire, to submit written

demands upon each of the Lessee Defendants, by letters dated November 21, 2012,

that they cure their respective breach of the respective Plaintiffs’ Leases arising out

of their “improperly taking deductions for post-production costs” from their

royalty payments to the clients identified in the letters, and by the subsequent

failure and refusal of Chesapeake Appalachia, Anadarko and Mitsui to satisfy or

perform their respective obligations for a period of over one year following the

demands.

      154. Because the Lessee Defendants have failed and refused to satisfy or

perform their respective obligations to pay royalties without improperly taking

deductions for post-production costs following written demand by or on behalf of a

majority of the Plaintiffs, it would be futile to require any further demand by the

remaining Plaintiffs, and all Plaintiffs should be deemed to have satisfied, or to be

equitably excused from satisfying, the condition, if and to the extent it is

applicable.



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      K.     Chesapeake Engaged in Self-Dealing, Including the Use of Non-
             Arms’-Length Contracts and Artificial “Prices” Based on
             Comingled Gas and Transactions With Its Own Subsidiaries and
             Affiliates, to Determine The Royalties Payable to Plaintiffs

      155. Chesapeake has used, and continues to use, non-arms’-length

contracts and transactions with its own subsidiaries and affiliates to produce,

process and market the gas in which Plaintiffs’ own royalty interests, and

artificially constructed “prices,” to determine the royalties payable to Plaintiffs in

connection with such gas.

      156. After gas is produced from a well, Chesapeake Appalachia

purportedly sells the gas to its affiliate, CEMI, in a transaction which is not at

arms’-length. At that point, CEMI takes title to and possession of the gas at the

wellhead. Access Midstream (formerly known as Chesapeake Midstream Partners,

L.P.), aggregates, commingles and gathers the gas with gas produced from multiple

other wells subject to other leases into a downstream pool and transports it to a

central point. CEMI then delivers the gas to one of several “points of delivery,”

which are physical locations where Access Midstream's system connects to larger

interstate pipelines owned and operated by unaffiliated third party interstate

pipeline companies. The gas is then transported downstream from these points of

delivery to various “points of sale.” It is only at these points of sale that title to the

gas passes from CEMI to third-party purchasers.




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      157. According to written statements previously made by Chesapeake

Energy in correspondence to royalty interest owners, CEMI determines a weighted

average sales price (sometimes referred to by the acronym “WASP”) for the gas

sold from the pool on a monthly basis. CEMI purportedly calculates the WASP by

averaging the price received by CEMI from individual sales from the pool across

the entire volume contained in the pool. CEMI then purportedly pays Chesapeake

Appalachia 97% of the sales price that CEMI receives in third-party sales,

retaining a 3% “marketing fee, which is purportedly borne solely by Chesapeake

Appalachia, and not passed-along to Plaintiffs, less the costs CEMI incurs between

the initial point of sale (the wellhead) and what it characterizes as the “value-added

downstream points of sale,” which include a compression fee, a gathering fee and a

transportation fee.

      158. Chesapeake makes royalty payments to owners of royalty interests,

including Plaintiffs, based on a weighted average sales price calculated on these

sales to various third party purchasers.

      159. In reality, Chesapeake receives a much higher “effective” price for

gas produced under Leases in which Plaintiffs hold royalty interests than the

WASP it uses to calculate the royalties payable to Plaintiffs.

      160. On information and belief, Chesapeake purports to sell certain of the

gas produced under Plaintiffs’ Leases pursuant to forward future contracts, called



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prompt month contracts (with smaller amounts sold each month at spot prices, or

pursuant to same-day contracts).

      161. Because Chesapeake knows that prompt month futures contracts

typically bring lower prices than longer-term contracts, and because of the high

volatility of the market for prompt month future contracts, Chesapeake also bought

and sold derivatives (puts, calls, collars, options) of farther forward sales of gas to

lock-in significantly higher prices for gas produced in the Marcellus Shale region,

including gas produced under Plaintiffs’ Leases.

      162. Chesapeake does not, however, calculate or pay royalties based on the

substantially higher “effective” price it receives for its physical production of gas,

but instead uses the substantially lower, artificial WASP.

      L.     After Initially Taking No Deductions for Post-Production Costs,
             CALLC and Other Lessee Defendants Unilaterally and
             Retroactively Changes the Method by Which They Calculate and

      163. When CALLC initially began paying royalties to Plaintiffs, it did not

deduct post-production costs in calculating, accounting for and paying royalties to

Plaintiffs. In or about January 2012, however, CALLC sent letters to Plaintiffs

notifying them that, based on the Pennsylvania Supreme Court’s decision in

Kilmer v. Elexco Land Services, Inc., 605 Pa. 413, 990 A.2d 1147 (2010),

Chesapeake would be retroactively changing the manner in which it calculated and

paid the royalties due and owing to Plaintiffs in connection with their respective



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Leases, by deducting post-production costs from the proceeds received by CALLC

at the point of sale in calculating the royalties payable to the respective Plaintiffs.

      164. In its opinion in Kilmer, the Pennsylvania Supreme Court held that oil

and gas leases which expressly provide for a royalty in the amount of one-eighth of

the proceeds actually received by the lessee from sales of production, less a

proportionate share of post-production costs, does not violate the Pennsylvania

Guaranteed Minimum Royalty Act, 58 P.S. § 33, which invalidates oil or gas

leases which do not “guarantee the lessor at least one-eighth royalty on all oil,

natural gas or gas of other designation removed or recovered from the subject real

property.”

      165. Subsequent to the Kilmer decision, despite the fact that Plaintiffs’

Leases, unlike the oil and gas leases at issue in Kilmer, do not expressly permit the

deduction of post-production costs, CALLC sent letters notifying Plaintiffs that,

based on the Kilmer decision, CALLC would be retroactively changing the manner

in which it calculated and paid the royalties due and owing to Plaintiffs in

connection with their respective Leases, effective as of the date of the Kilmer

decision, by deducting post-production costs from the purported proceeds received

by CALLC at the point of sale in calculating the royalties payable to the respective

Plaintiffs on gas produced from their respective properties.




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          166. CALLC then unilaterally and impermissibly: (a) re-calculated the

royalties it had previously accounted for and paid to Plaintiffs, arbitrarily and

unilaterally applying the new method of calculating royalties retroactively; (b)

determined, based on the new methodology, that it had overpaid Plaintiffs; and (c)

unilaterally and wrongfully sought to and did recoup the purported overpayments

from and after the date of the Kilmer decision by, suspending royalty payments to

Plaintiffs and/or by offsetting current royalties due and owing to Plaintiffs against

its purported prior overpayments to Plaintiffs (both calculated using the new

methodology), resulting in CALLC suspending the payment of any royalties to

Plaintiffs until it fully recovered the amounts of its purported overpayments, by

offset.

          167. From the time that CALLC resumed making royalty payments to the

respective Plaintiffs, and continuing to the present, CALLC, acting without any

authority to do so, has wrongfully deducted post-production costs from the

proceeds purportedly received by Chesapeake Appalachia at the point of sale in

calculating the royalties payable to the respective Plaintiffs on gas produced from

their respective properties. Each of the other Lessee Defendants likewise

commenced wrongfully deducting post-production costs from Plaintiffs’ royalties.

          168. The Lessee Defendants provide little to no explanation to royalty

interest holders, including Plaintiffs, of the nature or basis of the purported post-



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production costs that they deducts from their pro rata shares of the purported

proceeds that they receives from the sale of gas produced from their respective

properties in calculating the royalties paid to them. The checks are accompanied

only by a short-form, cursory check-stub type summary listing of the deductions,

with cryptic descriptions that provide no detail as to the nature of the services

provided, the basis for the fees, or the identity of the payees.

      169. Statoil USA and Anadarko E&P have likewise made similar

impermissible retroactive adjustments to royalties paid to certain of the Plaintiffs.

      M.     The Lessee Defendants Deduct Excessive and Unwarranted
             Charges for Gathering Services and Related Post-Production
             Services

      170.    In addition to acquiring oil and gas leases and producing natural gas

in the Marcellus Shale region, Anadarko and Chesapeake Energy, through their

respective subsidiaries and affiliates, also invested in, developed and operated

gathering systems and processing facilities to gather, treat and process the natural

gas that it produced.

      171. On February 29, 2008, Chesapeake Energy formed Chesapeake

Midstream Development, L.P. (“CMD”), to own, operate and develop midstream

energy assets.

      172. In September 2009, Chesapeake Energy and Global Infrastructure

Partners-A, L.P, and affiliated funds managed by Global Infrastructure



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Management, LLC, and certain of their respective subsidiaries and affiliates

(collectively, “GIP”), formed a joint venture to own and operate natural gas

midstream assets. As part of the transaction, CMD contributed certain natural gas

gathering systems (which, on information and belief, did not include Marcellus

Shale midstream assets) to the newly formed joint venture entity, and GIP

purchased an interest for $588 million in cash.

      173. In 2010, Chesapeake Energy and GIP formed Chesapeake Midstream

Partners, L.P. (“CHKM”), a master limited partnership, to own, operate, develop

and acquire gathering systems and other midstream energy assets.

      174. CHKM completed its initial public offering of common units on

August 3, 2010. In connection with the closing of the public offering, Chesapeake

Energy and GIP contributed the interests of the midstream joint venture’s operating

subsidiary to CHKM.

      175. Prior to the end of 2011, Chesapeake Energy provided gas gathering

and related post-production services in the Marcellus Shale region through its own

subsidiaries and affiliates, initially including, but not limited to, CMD and one of

CMD’s subsidiaries, Appalachia Midstream.

      176. The post-production costs which CALLC began to deduct from

proceeds received by it at the point of sale in calculating the royalties payable




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Plaintiffs were based entirely on purported post-production services by Chesapeake

affiliates and subsidiaries, in self-dealing, related party transactions.

      177. Although the royalty statements that CALLC issued to Plaintiffs

provided only cursory, cryptic and confusing descriptions of the deductions taken

from the proceeds received by CALLC at the point of sale in calculating the

royalties payable to the respective Plaintiffs on gas produced from their respective

properties, Plaintiffs believe and aver, based on comparisons of the their respective

statements from Chesapeake, and on comparisons of the statements they received

from Chesapeake with statements from other oil and gas companies which had

interests in the same wells, that, even if Chesapeake was otherwise authorized to

take such deductions (which Plaintiffs dispute), many of the deductions taken by

Chesapeake in connection with the underlying self-dealing, related party

transactions were arbitrary, excessive and unreasonable.

      N.     Chesapeake’s Joint Venture Partner Statoil’s Treatment of Post-
             Production Costs.

      178. As a joint venture partners of Chesapeake, Statoil USA sells, and

accounts to royalty interest owners, including Plaintiffs, for its share of the gas

produced by the joint venture separately from Chesapeake. Until relatively

recently, in calculating the royalties payable to royalty interest owners, including

Plaintiffs, Statoil USA, unlike CALLC and the other Lessee Defendants, did not



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expressly itemize or disclosed on its check stubs or royalty statements that it was

taking any deductions for gathering costs from the revenues that it derives from the

sale of its share of the gas produced by the joint venture in calculating royalties,

even though it is the same gas, produced from the same wells, subject to the same

leases, as to which Chesapeake takes substantial cost deductions from the revenues

derived from its share of the gas in calculating the royalties payable to royalty

interest holders. At the same time, Statoil reported substantially lower unit price

for the gas produced from the same wells, for the same months. As a result,

Plaintiffs infer and believe, and based thereon allege, that Statoil USA was actually

taking deductions for post-production costs without disclosing them, and then

simply paying royalties on the resulting lower unit price.

      O.     Chesapeake’s Liquidity Crisis

      179. Chesapeake financed its aggressive campaign to acquire leases in the

Marcellus Shale region and in other parts of the country by incurring massive

amounts of debt, resulting in it having an unusually highly leveraged balance sheet,

and increasingly onerous and ongoing debt servicing and repayment obligations.

By the end of 2011, Chesapeake owed approximately $10 billion in debt.

      180. As long as the price of natural gas increased or at least remained

stable, Chesapeake was able to service and refinance its growing debt obligations.




                                         84
       181. By the end of 2011, however, Chesapeake found itself faced with a

liquidity crisis, precipitated by an unexpected decline in the market price for

natural gas, which threatened Chesapeake’s ability to continue to service and

refinance or pay the massive debt obligations on its highly-leveraged balance

sheet. As described by a journalist writing for Forbes:

              Chesapeake Energy is in a bind. It’s the second-biggest
              natural gas producer in the country after ExxonMobil.
              But with natgas prices having fallen to their lowest levels
              in a decade ($2.40 per thousand cubic feet), Chesapeake
              isn’t generating enough cash.

                    Chesapeake has curtailed its drilling in some plays,
              and in January said it would shut in production of
              marginal gas fields. But the company has $10 billion in
              debt to service and is obligated to keep drilling wells on
              newer oil and gas leases in order to hold the land. Over
              the course of 2012, if gas prices were to stay where they
              are now, Chesapeake would face a cash shortfall of
              several billion dollars. 4

       P.     Chesapeake’s Scheme to Use Gas Gathering and Related
              Agreements to Solve Its Liquidity Crisis

       182. As part of its efforts to address its impending liquidity crisis,

Chesapeake decided to “sell” certain of its midstream assets, including its natural

gas gathering system and intrastate pipeline operations in the Marcellus Shale



4
         Christopher Helman, Chesapeake Energy’s New Plan: Desperate Measures for
Desperate Times, (Forbes Feb. 13, 2012) (the “Forbes Article”).
http://forbes.com/sites/christopherhelman/2012/02/13/chesapeake-energys-new-plan-desparate-
measures-for-desparate-times/


                                             85
region, through a series of complex and unusual transactions with Access

Midstream.

        183.   On December 29, 2011, CHKM acquired from CMD all of the issued

and outstanding equity interests in Appalachia Midstream, for total consideration

of $879.3 million, consisting of 9,791,605 common units and $600.0 million in

cash.

        184. As of its acquisition by CHKM, Appalachia Midstream operated 100

percent of, and owned an approximate average 47 percent interest in, 10 integrated

gas gathering systems that consisted of approximately 549 miles of gas gathering

pipeline in the Marcellus Shale, which serviced (and continue to service)

approximately 250 natural gas wells. The remaining 53 percent interest in the

assets was owned, directly or through subsidiaries and affiliates, primarily by

Statoil ASA, Anadarko Petroleum Corporation, and Mitsui & Co., Ltd., which

were and are, respectively, the corporate parents of defendants Statoil, Anadarko

and Mitsui.

        185. Appalachia Midstream was and is party to long-term (15-year) gas

gathering agreements with certain subsidiaries and affiliates of Chesapeake, and

also with Statoil, Anadarko, Mitsui, Epsilon Energy Ltd., and Chief Oil & Gas

LLC (“Chief”). Pursuant to these gas gathering agreements, which are not publicly

available, and the terms of which Chesapeake maintains as confidential,



                                       86
Chesapeake and some or all of the other producer-parties to the agreements granted

Appalachia Midstream what CHKM has publicly characterized as “extensive

acreage dedications” (i.e., exclusivity) in the areas within which it operated in the

Marcellus Shale region.5

         186. Although the terms of the gas gathering agreements were and are

largely confidential, not publicly available, and within the peculiar knowledge of

the Defendants who are party to such agreements, CHKM has publicly disclosed

that its gas gathering agreements generally contain certain terms, including the

following:

         •      opportunity to connect natural gas drilling pads and wells of the
                counterparties of these agreements within our acreage
                dedications to our gathering systems in all of our regions; [and]

         •      fee redetermination mechanisms, which are designed to support
                a return on invested capital and allow our gathering rates to be
                adjusted, subject to specified caps in certain cases, to account
                for variability in revenues, capital, expenditures and
                compression and certain other expenses…. 6




5
        See Chesapeake Midstream Partners, L.P., SEC Form 8-K, filed February 1, 2012,
Ex. No. 99.1, at 1-2.
https://www.sec.gov/Archives/edgar/data/1483096/000119312512034455/d292771d8k.htm
https://www.sec.gov/Archives/edgar/data/1483096/000119312512034455/d292771dex991.htm
Chesapeake Midstream Partners, L.P. SEC Form 10-K, filed February 29, 2011, at 1-3.
https://www.sec.gov/Archives/edgar/data/1483096/000119312512089268/d283045d10k.htm
6
    Chesapeake Midstream Partners, L.P., SEC Form 10-K, filed February 29, 2011, at 2.


                                               87
      187. The long-term gas gathering agreements functioned to limit (if not to

entirely eliminate) any direct exposure and risk to Appalachia Midstream and

CHKM from changes in the market price of natural gas.

      188. Effective July 24, 2012, CHKM changed its names to Access

Midstream Partners, L.P.

      189. On December 20, 2012, Access Midstream acquired from CMD and

certain of CMD’s affiliates one hundred percent (100%) of the issued and

outstanding equity interests in Chesapeake Midstream Operating, L.L.C. (“CMO”)

for total consideration of $2.16 billion (the “CMO Acquisition”). Through the

CMO Acquisition, Access Midstream acquired certain midstream assets in the

Eagle Ford, Utica and Niobrara regions, and also extended its existing assets and

operations in the Marcellus and other regions. Access Midstream also assumed

various gas gathering and processing agreements associated with the assets that

have terms ranging from 10 to 20 years and that, in certain cases, include cost of

service or fee redetermination mechanisms.

      190. When Chesapeake sought to spin-off its gathering assets, it turned to

J. Michael Stice – who then served as Chief Executive Officer of Chesapeake

Midstream GP, L.L.C (the general partner of CHKM), as Senior Vice President—

Natural Gas Projects of Chesapeake Energy, and as President and Chief Operating

Officer of Chesapeake’s primary midstream subsidiaries – to run the operation.



                                       88
Stice became the Chief Executive Officer of Access Midstream upon its

acquisition of the CMO midstream assets.

       191. Dominic J. Dell’Osso, Jr. – who then served as the Executive Vice

President of Chesapeake, and who had served as the Chief Financial Officer of

Chesapeake Midstream from August 2008 to November 2010 – also was fully

familiar with and intimately involved in the scheme.

       192. Stice and Dell’Osso also served as directors of Access Midstream’s

general partner, Access Midstream Partners GP, L.L.C., since July 2012 and July

2011, respectively.

       193. According to the ProPublica Report, post-spinoff agreements between

Chesapeake and Access Midstream also guarantee that Chesapeake and certain of

its subsidiaries and affiliates will receive a rebate of some of the monies that they

pay out to Access Midstream, in the form of payments for services and additional

assets. 7

       194.   As part of the transaction, Chesapeake agreed that certain of its

personnel and employees would be made available to Access Midstream during a




7
       See ProPublica Report.


                                         89
transitional period, and that it would provide certain services to Access Midstream

(for which it would be paid) going forward. 8

       195. As a result, Access Midstream has been and continues to be managed

and directed by former or current Chesapeake officer, has made extensive use of

other Chesapeake employees in conducting its operations, and continues to pay

Chesapeake and certain of its affiliates and subsidiaries for a variety of services.

       196. In connection with the CMO Acquisition, Access Midstream not only

acquired existing gas gathering agreements, but also entered into certain new gas

gathering agreements (the “New Gas Gathering Agreements”) with certain

Chesapeake Energy subsidiaries, including Chesapeake Appalachia.9

       Q.     Defendants Leverage Their Monopoly Power Over Gas Mineral
              Rights, Gathering and Intrastate Transportation Pipeline Systems
              In Contractually Dedicated Areas to Enable Chesapeake to
              Address Its Liquidity Crisis, and to Enable Access Midstream to
              Generate Supra-Competitive Profits, at the Expense of Plaintiffs
              and Other Royalty Interest Owners.

       197. Chesapeake and Access Midstream sought and received from the SEC

confidential treatment of the New Gas Gathering Agreements, and have not

otherwise made the agreements public. As a result, Plaintiffs do not presently have


8
       Access Midstream Partners, L.P., Form 10-K, filed Feb. 25, 2013; see also Access
Midstream Partners, L.P., Form 8-K, Exhibit 10.2, filed Dec. 19, 2012; Access Midstream
Partners, L.P., Form 8-K, Exhibit 10.2, filed June 20, 2012
9
        See Access Midstream SEC Form 8-K, filed December 19, 2012, at 2-5.
http://www.sec.gov/Archives/edgar/daa/1483096/00119312514085/d457818d8k.htm


                                             90
access to or knowledge of all of the terms and conditions of the New Gas

Gathering Agreements, which are within the exclusive knowledge of Chesapeake,

Access Midstream and the SEC (subject to confidentiality). As set forth below,

however, certain terms of the New Gas Gathering Agreements have been described

in public filings by Chesapeake Energy and Access Midstream, and in the

ProPublica Report.

      198.      Under both the existing gathering agreements acquired by Access

Midstream from CMD and its affiliates, and the new gathering agreements

established and entered into in connection with the CMO Acquisition, CMD and

other affiliates of Chesapeake “agreed to procure gathering, compression,

dehydration and treating services” for natural gas produced in the “Dedication

Areas” specified in the respective gathering agreements, exclusively from Access

Midstream. 10

      199. By engaging in CMO Acquisition and related transactions, Access

Midstream effectively acquired a monopoly in the market for gathering,

compression, dehydration and treating services within the “Dedication Areas”

specified in its existing and new gathering agreements, for at least the duration of

the long-term gathering agreements.
10
        See Access Midstream Partners, L.P., SEC Form 8-K (filed Dec. 26, 2012)
https://www.sec.gov/Archives/edgar/data/1483096/000119312512514085/d457818d8k.htm
Exhibit 10.1 (Non-Solicitation Agreement , dated as of Dec. 20, 2012), at 1-2
https://www.sec.gov/Archives/edgar/data/1483096/000119312512514085/d457818dex101.htm


                                         91
       200. Although Plaintiffs do not have access to the gathering agreements

that cover the natural gas produced from their properties by Chesapeake, Plaintiffs

believe and aver that much of Bradford County, including all of Plaintiffs’

properties that are subject to Leases with Chesapeake, falls within Dedication

Areas specified in one or more of the gathering agreements transferred or

established as part of the CMO Acquisition.

       201. In its public filings with the SEC, Access Midstream acknowledges

that, because it has long-term gathering agreements with its producer customers,

including Chesapeake, which have provided it with “long term acreage

dedications,” it faces no competition within such acreage dedications:

                   Given that substantially all of the natural gas
              gathered and transported through our gathering systems
              and processing facilities is owned by producer customers
              with whom we have long-term gathering contracts, we do
              not currently face significant competition for our natural
              gas volumes…. Chesapeake and other producers have
              provided long-term acreage dedications in the Marcellus
              Shale region….

                   We face competition for production drilled outside
              of our acreage dedications and in attracting third-party
              volumes to our systems. 11




11
         Access Midstream Partners, L.P. Form 10-K (filed Feb. 21, 2014), at 8.
 https://www.sec.gov/Archives/edgar/data/1483096/000156459014000295/acmp-
10k_20131231.htm



                                             92
      202.   In other words, by virtue of its long-term exclusive contracts with

Chesapeake and other producers in the Marcellus Shale region, Access Midstream

effectively has a one hundred percent (100%) share of the market for gas

gathering and related post-production services in the relevant geographic

market.

      203. There were and are no economically practicable or reasonable means

for a prospective competitor to enter into the market to compete with Access

Midstream in the delivery of gas gathering and related post-production services in

the relevant geographic market. The barriers to entry into the market include: (a)

the substantial capital costs and regulatory barriers associated with the construction

and operation of the necessary gathering pipelines; and (b) Access Midstream’s

long-term exclusive contracts with Chesapeake, the dominant producer in the

relevant geographic market, and other producers in the market. As a result, Access

Midstream acquired in the CMO Acquisition, and continues to possess, effective

monopoly power in the market for gas gathering and related post-production

services in the relevant geographic market, as defined by the exclusive dedicated

acreage granted in its long-term gathering agreements.

      204. The New Gas Gathering Agreements included agreements between

Access Midstream and Chesapeake Appalachia for the gathering of natural gas

produced by Chesapeake Appalachia from its operations the Marcellus Shale



                                         93
Region (the “Marcellus Gas Gathering Agreements”). 12 Under the Marcellus Shale

Gas Gathering Agreements, Chesapeake Appalachia’s payments to Access

Midstream for gas gathering and transportation services were referred to as the

“Marcellus fee.” Id.

      205. Access Midstream attempts to characterize of the amounts that

Chesapeake Appalachia has been required to pay for gas gathering and

transportation services (which Access Midstream sometimes refers to as the

“Marcellus fee”) as a “cost-of-service based fee.” This characterization, however,

is false and misleading.

      206. As the ProPublica Report details, the fees charged to Chesapeake

Appalachia by Access Midstream for purported post-production services were not

and are not “cost-of service based,” but instead were and are based on a transaction

structured to provide Access Midstream with a long-term, guaranteed, above-

market return on its investment, as an incentive and as consideration for the

payments it made to Chesapeake. As explained by ProPublica, “[a]n executive at a

rival company who reviewed the deal at ProPublica’s request said it looked like

Chesapeake had found a way to make the landowners pay the principal and




12
      See Access Midstream SEC Form 8-K, filed December 19, 2012, at 5


                                          94
interest on what amounts to a multi-billion dollar loan to the company from

Access Midstream.” 13

      207. Access Midstream’s own public disclosures show that the fees paid to

it in connection with the Marcellus Gathering Agreement are not based on the cost

of the gathering services provided under the agreement. To the contrary, according

to Access Midstream, the agreement is a long-term agreement that guarantees it a

specified rate of return on its investment:

                   Effective on January 1, 2014 and January 1st of
             each year thereafter for a period of 15 years from July 1,
             2012, the Marcellus fee will be redetermined based on a
             cost-of-service calculation that provides a specified pre-
             income tax rate of return on invested capital. 14

      208. Although neither Chesapeake nor Access Midstream filed the

Marcellus Gathering Agreement with the SEC, ProPublica has reported that the

rate of return guaranteed to Access Midstream is 15% per year: “Chesapeake has

pledged to pay Access enough in fees to repay the $5 billion plus a 15 percent

return on its pipelines.” 15

      209. Both Chesapeake and Access Midstream acted with full knowledge

that the rate of return being guaranteed to Access Midstream was well in excess of


13
      See ProPublica Report.
14
        Access Midstream SEC Form 8-K, filed Dec. 19, 2012, at 5
http://www.sec.gov/Archives/edgar/data/1483096/000119312512514085/d457818d8k.htm
15
      See ProPublica Report


                                          95
the rate of return that would have been available in a competitive market.        Both

Chesapeake and Access Midstream also acted with full knowledge that, in the

absence of sudden and unanticipated increases in the market price of natural gas,

and in light of the condition of Chesapeake’s cash flow and balance sheet,

Chesapeake’s ability to deliver on its promise to provide Access Midstream with

an above-market rate of return would require Chesapeake to treat the payments that

it would be making to Access Midstream as purported post-production costs, and

to then deduct and pass-on the artificial purported post-production costs in

calculating royalty payments to Chesapeake’s lessors, including Plaintiffs, thereby

reducing the royalties payable to them.

      210. Both Chesapeake and Access Midstream further acted with full

knowledge that the resulting purported post-production costs that Chesapeake

inevitably would have to pass-on to its lessors, including Plaintiffs, would be

artificially inflated, and in excess of the true market rates of such services.

      211. The structure and terms of the CMO Acquisition and related

agreements, including the ability to fund the commitments undertaken by

Chesapeake at the expense of its royalty interest owners, including Plaintiffs,

depended and relied on the existence and abuse by Access Midstream of the

monopoly power already possessed by Chesapeake Energy and its subsidiaries in

the market for gathering services in the Dedicated Areas, which was effectively



                                           96
conveyed to Access Midstream in connection with the CMO Acquisition, and

which was augmented by the new gathering agreement entered into by Defendants

and their affiliates as part of the transaction.

       212. Defendants acted with the intent of using the artificial reduction of the

royalties due and owing to Plaintiffs (and other royalty interest owners) to finance

their scheme.

       213.     In Chesapeake Energy’s 2013 Annual Report on Form 10-K, filed

with the SEC on February 27, 2014, Chesapeake for the first time publicly

disclosed the financial magnitude of the gathering and transportation

commitments that it made to Access Midstream in connection with the CMO

Acquisition, as well as fact that its royalty interest owners would be bearing a

portion of those costs:

                    We have contractual commitments with midstream
              service companies and pipeline carriers for future
              gathering, processing and transportation of natural gas
              and liquids to move certain of our production to market.
              Working interest owners and royalty interest owners,
              where appropriate, will be responsible for their
              proportionate share of these costs. 16

(emphasis added). According to Chesapeake Energy, its aggregate undiscounted

commitments under gathering, processing and transportation agreements,

16
       Chesapeake Energy Corporation SEC Form 10-K (filed Feb. 27, 2014), Item 8, Note 4, at
93.(available at https://www.sec.gov/Archives/edgar/data/895126/000089512614000104/chk-
20131231_10xk.htm) (last accessed Sept. 11, 2014).


                                             97
“excluding any reimbursement from working interest and royalty interest owners,”

amounts to a staggering $17 Billion. 17

      214. Although Plaintiffs believe and aver that Chesapeake was

impermissibly deducting inflated and improper post-production costs in calculating

their royalties, resulting in the underpayment of royalties, even before the CMO

Acquisition closed, the problem grew dramatically worse and more evident

following the closing of the CMO Acquisition.

      215. As part of the CMO Acquisition, Chesapeake not only agreed to

guaranty Access Midstream an above-market rate of return on its investment, but

also agreed to pay Access Midstream supra-competitive prices for natural gas

gathering services going forward that are many multiples of Access Midstream’s

actual costs, and far more than the costs previously deducted by Chesapeake

Appalachia when Chesapeake’s own subsidiaries and affiliates owned the

gathering system.

      216. The ProPublica Report details how Chesapeake has charged and

deducted amounts far in excess of not only the market rate, but also far in excess of

its own and Access Midstream’s actual costs for gathering services. In one

example reported by ProPublica, the markup was in excess of 3,000%. 18


17
      Id.
18
      See ProPublica Report.


                                          98
      217. As one of Chesapeake’s competitors stated, “[t]hey were trying to

figure out a way to raise money and keep their company alive [and] they looked at

it as a way to get disguised financing … that is going to be repaid at a premium.” 19

      218. Notably, as also mentioned in the ProPublica Report, and as reflected

in the royalty statements received by many of the Plaintiffs from other oil and gas

companies who hold interests in the gas produced from the same wells,

Chesapeake reports lower sales prices, and also deducts vastly more for gathering

services, than other oil companies which hold participating interests in the same

wells, despite the fact that they share the same contractual royalty payment

obligation, and the same entitlement (or lack of entitlement) to take such

deductions.

      219. Notably, Chesapeake reported to investors in September 2013 that its

expenses related to pipeline and marketing business had roughly doubled in the




19
      Id.


                                         99
months after it sold certain pipelines, and that its revenues for that part of its

business also had increased accordingly, covering the new costs. 20

      220. Industry analysts could not explain the change in revenue and

expenses. As reported by ProPublica:

      •      Fadel Gheit, a seasoned industry analyst for the investment firm
             Oppenheimer, who initially estimated the figure was off by a decimal
             point before later confirming that it matched the numbers Chesapeake
             had reported to the SEC, stated “[s]omething is wrong with this
             calculation …. It can’t be.”

      •      Kevin Kaiser, a financial analyst with Hedgeye, a private equity group
             in New York, stated, “[t]he change in marketing, gathering,
             compression revenue and expense is staggering.”

      •      None of the financial analysts who cover Chesapeake that ProPublica
             spoke with could explain the explosion in Chesapeake’s marketing
             and transportation revenue and expenses using oil sales alone.21




      221.    It was not until Chesapeake’s filing with the SEC of its 2013 Annual

Report on Form 10-K at the end of February, 2014 that Chesapeake disclosed in a

note – two sentenced in 299 page report - that its contracts with Access and other

companies played into the rising figures, without specifying how much. 22


20
      See ProPublica Report.
21
      See ProPublica Report.
22
      See ProPublica Report.



                                        100
      222.     The benefits that Access Midstream derived from the scheme are

clear. Access Midstream’s predominant source of revenue is gathering fees, and

Chesapeake    accounts    for   approximately    84%     of   Access       Midstream’s

business. 23Due in large part to Stice’s positive descriptions of, and other

disclosures about, the guaranteed revenue stream that Access Midstream would

enjoy as a result of the CMO Acquisition, the broader market also plainly

understands and appreciates the benefits of the transaction to Access Midstream.

As of June 16, 2014, Access Midstream’s publicly traded common units (NYSE:

ACMP) were trading at $66.57 per share, more than double the price at which they

were trading on December 14, 2012, the week before the CMO Acquisition closed.

      R.     The Lessee Defendants Have Charged, and Are Continuing to
             Charge, Artificially Inflated and Unreasonable Deductions From
             the Royalties Payable to Plaintiffs.

      223.   The oil and gas leases executed by Plaintiffs do not expressly allow

for the deduction of post-production costs of gathering, transportation or marketing

from Plaintiffs’ royalties, and by implication prohibit such deductions.

      224. Although the Lessee Defendants are not entitled to deduct any

amounts from Plaintiffs’ royalties in connection with post-production costs of

gathering, transportation or marketing, they have nonetheless taken such

deductions in calculating and paying Plaintiffs’ royalties, in amounts which were


23
      Id.


                                        101
and are artificially inflated, improper, and unrelated to any legitimate market “cost

of services.”

       225. CALLC was not the only one of the Lessee Defendants that took

impermissible or artificially inflated and unreasonable deductions for gathering,

transportation and other post-production costs. Each of the Lessee Defendants has

taken such deductions in calculating the royalties that it accounted for and paid to

those of the Plaintiffs in whose leases the respective Lessee Defendants hold

working interests, resulting in underpayment of royalties.

       226. Pursuant to Pennsylvania’s Guaranteed Minimum Royalty Act

(“GMRA”), a natural gas lease is not valid if it does not “guarantee the lessor at

least one-eighth royalty of all oil, natural gas or gas of other designations removed

or recovered from the subject real property.” 55 P.S. § 33.3. As a result, royalty

deductions, even if and to the extent permissible at all under the terms of a

particular oil and gas lease, not only must be reasonable and reflect actual costs,

but also must be proportionate to the lessor’s minimum guaranteed royalty under

the GMRA (i.e., a lessor’s post-production deductions cannot exceed 12.5% of

total post-production costs). 24



24
        In this action, Plaintiffs contend their leases did not permit the Lessee Defendants to
deduct post-production gathering, transportation or marketing costs in any amount, or, in the
alternative, that any such deductions must be reasonable and based on bona fide, actual costs.



                                               102
      227. Notwithstanding these limitations, and the absence of any language in

Plaintiffs’ respective leases allowing for the deduction of post-production costs,

each of the Lessee Defendants, acting under the guise of such leases, has taken

artificially inflated and unreasonable deductions in calculating and paying royalties

to Plaintiffs that far exceeded their pro rata share of 12.5% of total post-production

costs, in order to effectively and improperly shift a material portion of the financial

obligation undertaken by Chesapeake to ensure its financial survival to its lessors,

including Plaintiffs.

      228. Each of the Plaintiffs has received, and continues to receive, periodic

royalty payments from each of the Lessee Defendants that holds a working interest

in the respective Plaintiff’s lease(s). The Lessee Defendants generally account for

and pay royalties on a monthly basis, although the frequency and regularity of the

payments and accountings from the respective Lessee Defendants sometimes vary

over time.

      229.    Each of the royalty payments received by each of the respective

Plaintiffs was and is accompanied by a statement, in the form of a check-stub or

otherwise, purporting to summarize the basis on which the payment was

calculated.

      230.    The formats of the royalty statements provided by the respective

Lessee Defendants, and the categories of information provided in such statements,



                                         103
are similar, but not identical. Moreover, certain of the Lessee Defendants have

modified the categories of information provided in their respective royalty

statements over time.

V.    THE USE OF INTERSTATE MAILS AND WIRES TO CAUSE
      INJURY TO PLAINTIFFS

      231. The scheme alleged herein constituted mail and/or wire fraud in

violation of 18 U.S.C. §§ 1341 and 1343.

      232. The conduct of Defendants and their co-conspirator, CALLC, as

described in this amended complaint, constituted the execution of a scheme and

artifice to defraud and deprive Plaintiffs and other oil and gas lessors in

Pennsylvania of royalties properly due to them by means of fraudulent pretenses

and representations through the use of the United States mails, in violation of 18

U.S.C. § 1341.

      233. The use of the mails formed a central feature of the scheme and

included, by way of example and as described above, the conduct of the

Defendants in causing and permitting the Lessee Defendants to send to Plaintiffs,

and the conduct of the Lessee Defendants in sending to Plaintiffs, their periodic

(typically, but not always, monthly) royalty statements and royalty payments. Each

of the Lessee Defendants sent royalty statements to Plaintiffs that either (a)

fraudulently represented that deductions shown for gas gathering and

transportation costs were legitimately incurred and permissible under the terms of

                                       104
the respective Plaintiffs’ leases; or (b) fraudulently concealed, omitted or otherwise

failed to disclose that such deductions had in fact been taken in calculating the

royalties paid to the respective Plaintiffs.

      234. The conduct described above constituted multiple instances of mail

fraud, in violation of 18 U.S.C. § 1341, which is a predicate offense for purposes

of 18 U.S.C. § 1962(c).

      235. In addition, Defendants have, on a regular monthly or other periodic

basis, transferred payments between themselves by wire, pursuant to and in

furtherance of the conspiratorial agreement among them described herein. This

conduct constituted multiple instances of wire fraud, in violation of 18 U.S.C. §

1343, which also is a predicate offense for purposes of 18 U.S.C. § 1962(c).




                                           105
VI.   CAUSES OF ACTION

                           FIRST CAUSE OF ACTION

                  (Agreement to Restrain Competition in Violation of
                     Section 1 of the Sherman Act, 15 U.S.C. § 1)

      236. Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      237. The relevant geographic market for purposes of this claim is, in the

alternative: (a) Bradford County, Pennsylvania, and adjoining portions of Sullivan,

Susquehanna and Wyoming Counties, Pennsylvania; (b) the AMI designated in the

that Joint Exploration Agreement between Chesapeake and Anadarko E&P; and/or

(c) that portion of the aggregate Dedicated Area, together with any other dedicated

acreage defined in any and all gathering agreements to which Chesapeake Energy

or any of its affiliates or subsidiaries, including but not limited to CMD, is a party,

in which they contractually agreed to procure gathering, compression, dehydration

or treating services with respect to natural gas exclusively from another entity, and

which is located within Bradford, Sullivan, Susquehanna, or Wyoming County,

Pennsylvania, including, if and to the extent they fall within the foregoing

definition, the Dedicated Areas specified in the following Gathering Agreements

listed on Schedule A to the Non-Solicitation Agreement entered into on December

20, 2012, among Access Midstream, CMD, Chesapeake Operating, Inc.,

Chesapeake Energy Marketing, Inc., and Chesapeake Energy, filed as Exhibit 10.1

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to the SEC Form 8-K filed by Access Midstream Partners, L.P., on December 26,

2012:

        •     The contracts designed as “5. Marcellus” with a date TBD, with
              Mid-Atlantic Gas Services, L.L.C., or its successors or assigns;

        •     The contract designated as “8. Anchor Shipper Gas Gathering
              Agreement for Marcellus” with an Effective Date of January 1,
              2012, with Appalachia Midstream Gas Services, L.L.C., or its
              successors or assigns; and

        •     The contract designated as “9. Anchor Shipper Gas Gathering
              Agreement for Northern Pennsylvania” with an Effective Date
              of January 1, 2012, with Appalachia Midstream Gas Services,
              L.L.C., or its successors or assigns; and

The geographic market defined above is referred to below as the “Exclusive

Dedicated Acreage.” Because there are known to be rich deposits of natural gas in

the Marcellus Shale located beneath the surface of the land in and around Bradford

County, the relevant geographic market, as alternately defined above, is not

reasonably interchangeable with other geographic markets.

        238. The relevant product or service market for purposes of this claim is, in

the alternative: (a) the market for the lease of subsurface natural gas underlying

specific land, together with the rights to explore for, develop, produce, measure

and market gas from the leased premises (“Gas Mineral Rights”); (b) the market

for the right to operate working interests in oil and gas leases to explore for,

produce and market natural gas (“Operating Rights”); or (c) the market for natural

gas gathering and midstream transportation services (“Gathering Services”).

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      239.    Because natural gas is not readily and reasonably interchangeable

with other fossil fuels, such as coal or petroleum, due to various economic,

technological and regulatory restrictions, as well as constraints associated with

capacity and local transmission and transportation, all of which limit the ability and

responsiveness of end-users including electricity generators, and end-users of gas

for heating, to respond in the short-term to changes in prices, Gas Mineral Rights

likewise are not reasonably interchangeable with similar rights to other forms of

fuel, and Operating Rights and Gathering Services are not reasonably

interchangeable with other conceivable methods of exploring for, producing and

marketing natural gas, or transporting gas from wells to interstate pipelines. As a

result, the estimated cross-elasticities of demand, supply and substitution for the

alternative products or services are relatively low.

      240.    Beginning in 2006, at or about the time of the negotiation of the Joint

Exploration Agreement between Chesapeake and Anadarko E&P, and continuing

through at least 2012, defendants Chesapeake and Anadarko E&P and its affiliates,

who otherwise had been, were and are horizontal competitors in the markets for

Gas Mineral Rights, Operating Rights and Gathering Services, by and through their

respective conduct set forth above, willfully, knowingly and intentionally

combined or conspired, initially among themselves, and later with other oil and gas

companies that competed in, or sought to enter, those markets, to reduce, restrain



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or eliminate competition in the markets for such rights and services by dividing

and allocating between themselves separate relevant geographic markets in

Northern Pennsylvania, including but not limited to the geographic market in and

around Bradford County, between and among themselves, with the specific intent

to reduce, restrain or eliminate competition in the markets for such rights and

services in the relevant geographic area.

      241. Because the claim set forth in this cause of action is founded on

agreements among horizontal competitors to divide and allocate markets, which

constitute naked restraints of trade, Plaintiffs respectfully submit that Defendants’

conduct described herein constitutes a per se violation of Section 1 of the Sherman

Act, 15 U.S.C. § 1, and therefore should be evaluated under the “per se” rule.

Alternatively, if Defendants are able to convince the Court, based on the evidence

developed after discovery, that the division and allocation of markets by

defendants Chesapeake and Anadarko E&P in connection with their establishment

of the AMI referred to as “Area A” was ancillary to some legitimate, pro-

competitive business purpose, enhanced overall efficiency, and made markets more

competitive, then the claim can and should be analyzed under the rule of reason,

which was violated by the conduct in questions. Because an observer with even a

rudimentary understanding of economics could readily conclude that the

arrangement in question could have an anticompetitive effect on customers and



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markets, however, Plaintiffs submit that the conduct at issue can and should

appropriately be analyzed under the intermediate “quick look” rule. Under the

“quick look rule”, the conduct in question constitutes a violations Section 1 of the

Sherman Act, 15 U.S.C. § 1.

      242. Chesapeake and Anadarko began by establishing the AMI known as

“Area A”, which appears to have been intended, and to have operated, to restrict

competition between them in the markets for such products and services in the

relevant geographic market.

      243. Statoil USA and Mitsui E&P later joined in and provided critical

financial support for the conspiracy, acting with knowledge of and with the intent

to enable Chesapeake and Anadarko to fully exploit, the anticompetitive and

restrictive AMI established pursuant to the 2006 Joint Exploration Agreement. In

return for their financial commitments, Statoil USA and Mitsui E&P received

working interests in the wells and units developed by CALLC as the operator, and

ownership interests in the gathering systems developed by Chesapeake, AMS and

later to facilitate the production and marketing of natural gas from such wells.

      244.   As a result of the agreement, combination and conspiracy among the

Lessee Defendants and their respective affiliates, which Plaintiffs infer and allege

(based on the apparent ability of CALLC to exclude other competitors from the

relevant geographic market) later came to include other competing oil and gas



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companies, competition in the markets for Gas Mineral Rights, Operating Rights

and Gathering Services Chesapeake in the relevant geographic market was

substantially foreclosed or eliminated, leaving Chesapeake with an effective

monopoly or, more accurately a monopsony, given that it was effectively the sole

buyer of the relevant rights and services in the relevant geographic market.

      245. Chesapeake’s effective monopsony placed it in a position to exercise,

and it did exercise, market power over payment of the price of Gas Mineral Rights,

including but not limited to royalties. Specifically,

      246. Prior to the end of 2011, in furtherance of the agreement, combination

and conspiracy among Defendants, CALLC obtained Gathering Services from

other affiliates of Chesapeake, including CMD and/or AMS. By virtue of their

unlawfully acquired effective monopoly on Gathering Services in the relevant

geographic market, CMD and/or AMS were able to and did charge supra-

competitive prices for such services. CALLC and the other Lessee Defendants

befitted from such above-market prices by virtue of their shared ownership of the

gathering systems, and by being able to effectively recover material portion of such

charges by deducting a proportionate share of the charges from the royalties

payable to Plaintiffs, causing injury to Plaintiffs.

      247. Prior to the CMO Acquisition, Chesapeake Energy, directly and

through its controlled subsidiaries, possessed monopoly power in the market for



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natural gas gathering and midstream transportation services in the Exclusive

Dedicated Acreage. Through the CMO Acquisition, and the new gathering

agreements executed in connection with the transaction, Chesapeake Energy and

its affiliates not only transferred its existing, unlawfully-acquired monopoly power

to Access Midstream and its affiliates, but also effectively bolstered and extended

that monopoly power.

      248. By entering into and closing the CMO Acquisition, and the various

contracts involved in that transaction, including the Marcellus Gathering

Agreement, Defendants contracted, combined or conspired to further restrain

competition in the relevant markets.Defendants took steps in furtherance of their

contract, combination or conspiracy by, among other things, closing the CMO

Acquisition, and by Access Midstream and its affiliates paying, and Chesapeake

Energy and its affiliates accepting and receiving, the agreed consideration, and by

Access Midstream thereafter providing natural gas gathering systems and services,

and related natural gas post-production services, to Chesapeake Energy and its

affiliates, with respect to natural gas produced in the Exclusive Dedicated Acreage,

at supra-competitive prices.




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       249. In negotiating and entering into the CMO Acquisition, Chesapeake

and Access Midstream acted with knowledge that the gathering and transportation

costs that Chesapeake was committing to pay to Access Midstream or its affiliates

were excessive, and that Chesapeake Energy and its affiliates intended to fund a

material portion the ongoing supra-competitive cost of gathering and transportation

services which they were committing to pay by effectively passing along a

substantial portion of such costs to the owners of royalty interests in natural gas

wells operated by Chesapeake within the Exclusive Dedicated Acreage, including

Plaintiffs, by deducting a portion of such costs in calculating the royalties payable

to such royalty interest owners, and thereby reducing the amount of the royalties.

       250. Chesapeake has in fact effectively passed along to Plaintiffs and other

royalty interest owners a significant portion of the supra-competitive costs of

gathering and transportation services that Chesapeake committed to pay in

connection with the CMO Acquisition by deducting a portion of such costs in

calculating the royalties payable Plaintiffs, thereby reducing the amount of the

royalties paid to Plaintiffs.

       251. As lessors of natural gas rights and holders of royalty interests in

natural gas produced and marketed within the Exclusive Dedicated acreage

through the commercial exploitation of such rights, Plaintiffs were and are within

the area of the economy endangered by the breakdown in competitive conditions



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resulting from the contracts or conspiracy between Chesapeake and Access

Midstream in restraint of trade.

      252.     The economic injury suffered by Plaintiffs was a necessary step in,

integral to, or part of the essential means by which defendants Chesapeake and

Access Midstream sought to achieve their illegal and anticompetitive ends. As a

result, the economic injury suffered by Plaintiffs is inextricably intertwined with

Defendants’ wrongdoing.

      253. Plaintiffs have suffered antitrust injury as a result of Defendants’

conduct because the economic harm they have suffered – the loss of royalties due

to deductions by the Lessee Defendants of unauthorized or artificially inflated

costs for gathering, transportation and other post-production costs – reflects either

(a) the anticompetitive impact of the antitrust violations by Defendants with

respect to the market for Operating Rights and/or Gathering Services, or (b) the

effect of anticompetitive acts in the markets for Operating Rights and/or Gathering

Services which were made possible by, and reflect a further consequence and

effect of, their earlier successful efforts to foreclose or eliminate competition in the

market for Gas Mineral Rights. By engaging in market allocation in the market for

Gas Mineral Rights, defendants Chesapeake and Anadarko E&P, which were

horizontal competitors, enabled themselves to cause Plaintiffs to receive below-




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market royalties as a result of the deduction of unauthorized and/or artificially

inflated costs from their royalties.

      254. As a direct and proximate result of Defendants’ past and continuing

violations of Section 1 of the Sherman Act, Plaintiffs have suffered injury and

damages in amounts to be proven at trial.

      255. Plaintiffs seek money damages from Defendants, jointly and

severally, for these violations.

      256. The actual damages sustained by Plaintiffs should be trebled under

Section 4 of the Clayton Act, 15 U.S.C. § 15.

                             SECOND CAUSE OF ACTION

         (Combination or Conspiracy to Monopolize Trade or Commerce in
           Violation of Section 2 of the Sherman Act, 15 U.S.C. § 2)

      257. Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      258.    The relevant geographic market for purposes of this claim is, in the

alternative: (a) Bradford County, Pennsylvania, and adjoining portions of Sullivan,

Susquehanna and Wyoming Counties, Pennsylvania; and/or (b) the Exclusive

Dedicated Acreage.

      259. The relevant product or service market for purposes of this claim is

the market for Gathering Services. Gathering services are not reasonably

interchangeable with other conceivable methods of transporting natural gas from

                                          115
wells to interstate pipelines. As a result, the           estimated       cross-

elasticities of demand, supply and substitution for potential

alternative services is low.

      260. By their respective conduct set forth above, Defendants willfully,

knowingly and intentionally combined or conspired among themselves and with

others with the specific intent to: allocate the market for cause and permit Access

Midstream to acquire, maintain, possesses and exercise monopoly power in the

market for natural gas gathering systems and services, and for related natural gas

post-production services, in the geographic market consisting of the Exclusive

Dedicated Acreage, and to abuse that power to maintain and enhance its market

dominance by knowingly causing, inducing and permitting Chesapeake to

deliberately underpay royalties properly due and payable to owners of royalty

interests, including Plaintiffs, on the proceeds received by Chesapeake at the point

of sale from the sale of natural gas produced from the properties of such royalty

owners, by the improper deduction of excessive, unwarranted and unreasonable

costs before calculating the royalties payable on such proceeds, to enable

Chesapeake to return to Access Midstream, and pay supra-competitive returns to

Access Midstream on, the monies that it paid to Chesapeake.

      261. In furtherance of the combination or conspiracy, Defendants have

committed one or more overt acts, including, but not limited to: defendants


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Chesapeake and Access Midstream closed the CMO Acquisition; Access

Midstream and its affiliates paid, and Chesapeake Energy and its affiliates

accepted and received, the agreed cash consideration for the CMO Acquisition;

Access Midstream, directly or through its subsidiaries and affiliates, has provided

natural gas gathering systems and services, and related natural gas post-production

services, to Chesapeake Energy and its affiliates, with respect to natural gas

produced in the Exclusive Dedicated Acreage; and Chesapeake has paid Access

Midstream or its affiliates the supra-competitive fees specified in the existing

contracts transferred and the new contracts entered into as part of the CMO

Acquisition for gas gathering and transportation services.

      262. By charging and accepting supra-competitive fees for gathering

services pursuant to its combination or conspiracy with Chesapeake, Access

Midstream has abused its monopoly power for gathering and midstream

transportation services in the Exclusive Dedicated Acreage.

      263. Defendants’ conduct described herein constitutes a per se violation of

Section 2 of the Sherman Act, 15 U.S.C. § 2. In the alternative, the conduct

violates Section 2 of the Sherman act by virtue of the rule of reason. Alternatively,

because an observer with even a rudimentary understanding of economics could

readily conclude that the arrangement in question could have an anticompetitive

effect on customers and markets, the conduct at issue can and should appropriately



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be analyzed under the intermediate “quick look” rule. Under the “quick look rule”,

the conduct in question constitutes a violations Section 1 of the Sherman Act, 15

U.S.C. § 1.

      264. As a direct and proximate result of Defendants’ past and continuing

violation of Section 2 of the Sherman Act, as well as Defendants’ other unlawful

conduct, Plaintiffs have suffered injury and damages in amounts to be proven at

trial. The injury and damages sustained by Plaintiffs include being deprived of the

royalties properly due and payable to them on the proceeds received by

Chesapeake at the point of sale from the sale of natural gas produced from

Plaintiffs’ respective properties, as a result of Chesapeake’s improper deduction of

excessive, unwarranted and unreasonable costs before calculating the royalties

payable to Plaintiffs on such revenues, which resulted in Plaintiffs receiving

royalties in amounts substantially less than they would have been in the absence of

the violations alleged.

      265. Plaintiffs have suffered antitrust injury as a result of Defendants’

conduct because the economic harm they have suffered – the loss of royalties due

to deductions by the Lessee Defendants of unauthorized or artificially inflated

costs for gathering, transportation and other post-production costs – reflects the

anticompetitive impact of the antitrust violations by Defendants with respect to the

market for Gathering Services,



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      266. Plaintiffs seek money damages from Defendants, jointly and

severally, for these violations.

      267. The actual damages sustained by Plaintiffs should be trebled under

Section 4 of the Clayton Act, 15 U.S.C. § 15.

                              THIRD CAUSE OF ACTION

                      (Violation of RICO, 18 U.S.C. §§ 1961-1968)

      268. Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      269.    Plaintiffs and each of the Defendants are “persons,” as that term is

defined in 18 U.S.C. §§ 1961(3) and 1962(c).

      A.     The Enterprise

      270. For purposes of this claim, the RICO “enterprise” is an association in

fact, as that term is defined in 18 U.S.C. §§ 1961(4) and 1962(c), consisting of

Defendants, together with their respective officers, directors, employees and agents

(the “Enterprise”). As such, the Enterprise is separate and distinct from the Persons

that constituted the Enterprise.

      271.    The Enterprise was primarily managed by Chesapeake, which

organized the fraudulent scheme and procured the involvement of the other

Defendants. Each of the Defendants, however, agreed to, and did, participate in the




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conduct of the Enterprise, and carried out its role using broad and independent

discretion.

      272. The companies and individuals that comprise the Enterprise were

associated for the common purpose of defrauding the leaseholders of the Lessee

Defendants, including Plaintiffs, by: (a) overcharging them for post-production

costs associated with the gathering, transportation and marketing of natural gas

produced from the leasehold properties in which such leaseholders, including

Plaintiffs, hold royalty interests, which the co-conspirators knowingly and

improperly deemed and treated to be permitted by the terms of the leases of such

leaseholders, including Plaintiffs, with the intended effect of reducing the royalties

otherwise payable to such leaseholders, including Plaintiffs.

      273. At all relevant times, the Enterprise was engaged in, and its activities

affected, interstate commerce in that their gas gathering and transportation charges

and deductions have reduced oil and gas royalty payments to lessors throughout

the United States, and have been directed against lessors throughout the

Commonwealth of Pennsylvania and other states. Further, the Gas Gathering

Agreements and other non-arm’s length agreements entered into by Chesapeake

Appalachia and its co-conspirators, govern assets and employees located

throughout the United States, and prescribe payments to be sent throughout the

United States.



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      274. The Enterprise has operated since at least 2010, and its operation is

ongoing.

      275. The Enterprise has an ascertainable structure separate and apart from

the pattern of racketeering activity in which Defendants engage.

      B.     The Pattern of Racketeering Activity

      276. At all relevant times, in violation of 18 U.S.C. § 1962(c), the

Defendants conducted the affairs of the Enterprise, and participated in the

operation and management thereof, through a “pattern of racketeering activity” as

that phrase is defined in 18 U.S.C. §§ 1961(1) and (5), through conduct including

but not limited to the following:

      a.     Defendants caused and permitted the Lessee Defendants to pass-on

and charge to Plaintiffs and other leaseholders, and the Lessee Defendants charged

and deducted from the royalties payable to Plaintiffs and other leaseholders,

artificially inflated gathering fees, which thereby improperly reduced the royalties

otherwise payable to Plaintiffs and such other leaseholders, despite their

knowledge that the underlying gathering and transportation fees charged by Access

Midstream, including under the Marcellus Gathering Agreements, were far in

excess of the fair market rates of such fees;

      b.     Defendant Access Midstream agreed, and the other Defendants knew

that Access Midstream had agreed, to rebate a portion of the artificially inflated



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fees to Chesapeake and/or its subsidiaries and affiliates, ostensibly for the use of

other equipment and services;

      c.     Defendants also knew and expressly or implicitly agreed, that such

artificially inflated gathering and transportation fees would be passed-on to holders

of royalty interests in leases with the Lessee Defendants, including Plaintiffs, in the

form of deductions from the royalties payable to them;

      d.     The unlawful conduct by Defendants through the association-in-fact

Enterprise, was intended to and did operate to deprive holders of royalty interests

in leases with the Lessee Defendants, including Plaintiffs, of their proper royalty

payments, was continuous and open-ended, was intended to continue, and

continues today;

      e.      Plaintiffs were among the intended targets of the scheme that was

facilitated by the knowing and purposeful involvement of the Defendants, and

suffered financial harm as the direct and intended consequence and result of such

conduct.

      C.     The Predicate Acts of Mail Fraud and Wire Fraud

      277. The pattern of racketeering activity in which Defendants engaged

consisted of mail and/or wire fraud in violation of 18 U.S.C. §§ 1341 and 1343.

Specifically, Defendants engaged in an intentional scheme or artifice to defraud

Plaintiffs and other owners of royalty interests under oil and gas leases with the



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Lessee Defendants, in order to obtain their money or property through false or

fraudulent pretenses, representations or promises.

      278. It was reasonably foreseeable to the Defendants that the mails and/or

wires would be used in furtherance of the scheme, and the mails and/or wires were

in fact used to further and execute the scheme.

      279. The nature, pervasiveness and duration of the Enterprise necessarily

entailed frequent mail and/or wire transmissions. The specific dates and contents of

such transmissions are within the peculiar knowledge of Defendants, and connect

be alleged by Plaintiffs without access to the books and records of the Defendants.

Plaintiffs nonetheless can and do allege such transmission generally, and

specifically with reference to their own periodic royalty statements and payments.

      280. For the purpose of executing and furthering the scheme, the

Defendants regularly transmitted and caused to be transmitted by means of wire

communications in interstate commerce writings, electronic date, and funds, to and

among themselves, Plaintiffs and others, and also regularly caused matters and

things to be placed in post offices or authorized depositories, or caused to be

deposited matters or things to be sent or delivered by private or commercial

interstate carrier. By so doing, Defendants utilized the mails and/or wires for

purposes of furthering and executing the scheme.




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         281. Each royalty statement issued to each of the Plaintiffs, and the other

electronic and postal transmissions alleged above, was incident to an essential part

of the scheme. As detailed above, Defendants engaged in similar activities with

respect to each Plaintiff.

         282. In addition, each such electronic and/or postal transmission

constituted a predicate act of wire and/or mail fraud, in that each transmission

furthered and executed the scheme to defraud Plaintiffs and other royalty interest

owners.

         283. Defendants each participated in the scheme to defraud knowingly,

willfully, and with the specific intent to defraud royalty interest owners, including

Plaintiffs, to accept royalties in amounts less than that to which they were entitled,

as a result of the deduction of unauthorized or falsely inflated post-production

costs.

         284. The foregoing predicate acts of mail and wire fraud constitute a

pattern of racketeering activity as defined in 18 U.S.C. § 1961(5). The predicate

acts were not isolated events, but were related and recurring acts aimed and the

common purpose and goal of defrauding royalty interest owners, including

Plaintiffs, to accept royalties in amounts less than that to which they were entitled,

as a result of the deduction of unauthorized or falsely inflated post-production

costs, and thereby enable Defendants to reap illicit profits.



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        285. Defendants were common participants in the predicate acts. Their

activities amounted to a common course of conduct, with similar pattern and

purpose, intended to deceive Plaintiffs and other royalty interest owners.

        D.    RICO Injury to Plaintiffs

        286. As a direct and proximate result of the foregoing violations of 18

U.S.C. § 1962(c) by Defendants, Plaintiffs have been injured in their business or

property within the meaning of 18 U.S.C. § 1964(c). Plaintiffs were injured by the

loss of royalties to which they otherwise were entitled as a result of Defendants’

deduction of unauthorized or artificially inflated and unreasonable post-production

gathering and transportation costs in the calculation and payment of such royalties

to Plaintiffs. The injuries that have been sustained by Plaintiffs are a direct,

proximate and foreseeable result of the scheme alleged. Plaintiffs’ continued

acceptance of underpayment royalties as a result of the deduction of such

unauthorized or artificially inflated and unreasonable costs in the calculation of

their    royalties   evidences   their    reliance   on   Defendants’        fraudulent

misrepresentations and omissions.

        287. The overcharges for gathering and transportation fees, and resulting

underpayment in royalties, to Plaintiffs was an integral and necessary part of the

scheme, as they enabled Defendants to profit from their respective interests in

Access Midstream and Appalachia Midstream Service (in the case of Chesapeake),



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and in the shared ownership of the gathering pipelines (in the case of other

Defendants, and later enabled Chesapeake to fulfill the payment obligations that it

incurred to Access Midstream in connection with the CMO Transaction, and the

other Defendants to acquiesce in and profit from such payments (through their

continued common ownership interests in the gathering pipelines).

      288. Pursuant to 18 U.S.C. § 1964(c), Defendants are jointly and severally

liable to Plaintiffs for three times the damages they have sustained, together with

reasonable attorney’s fees and costs.

                             FOURTH CAUSE OF ACTION

                   (Conspiracy to Violate RICO, 18 U.S.C. § 1962(d))

      289. Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      290. RICO, 18 U.S.C. § 1962(d), provides that it “shall be unlawful for any

person to conspire to violate any of the provisions of subsection (a), (b) or (c) of

this section”

      291. The Defendants have violated 18 U.S.C. § 1962(d) by conspiring to

violate 18 U.S.C. § 1962(c).

      292. Defendants formed and conducted the affairs of the association-in-fact

Enterprise for the common purpose of fraudulently deducting unauthorized or

artificially inflated and unreasonable post-production gathering and transportation



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costs in the calculation and payment of royalties to Plaintiffs and other royalty

interest owners, and thereby fraudulently and improperly justifying the

underpayment of royalties to Plaintiffs and such other royalty interest owners.

      293. The Enterprise was engaged in, and its activities affected, interstate

commerce within the meaning of 18 U.S.C. § 1962(c).

      294. As set forth above, each of the Defendants conducted or participated,

directly or indirectly, in the conduct of the affairs of the Enterprise through a

pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(5), in

violation of 18 U.S.C. § 1962(c).

      295. Each of the Defendants was associated with the Enterprise and agreed

and conspired to violate 18 U.S.C. § 1962(c), and agreed to conduct and participate

in the affairs of the Enterprise through a pattern of racketeering activity in violation

of 18 U.S.C. § 1962(c).

      296. Each of the Defendants committed or caused to be committed a series

of overt acts in furtherance of the conspiracy and to accomplish the objects thereof,

including but not limited to the acts set forth herein.

      297. As a direct and proximate result of the overt acts and predicate acts of

the respective Defendants in furtherance of the violation of 18 U.S.C. § 1962(d) by

conspiring to violate 18 U.S.C. § 1962(c), Plaintiffs have been and are continuing

to be injured in their business and property in amounts to be determined at trial.



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Such injuries include, but are not limited to, the loss of royalties to which they

otherwise were entitled as a result of Defendants’ deduction of unauthorized or

artificially inflated and unreasonable post-production gathering and transportation

costs in the calculation and payment of such royalties to Plaintiffs.

      298. Pursuant to 18 U.S.C. § 1964(c), Defendants are jointly and severally

liable to Plaintiffs for three times the damages they have sustained, together with

reasonable attorney’s fees and costs.

                              FIFTH CAUSE OF ACTION

              (Breach of Contract – Express and/or Implied Covenants)

      299.    Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      300. Each of the Lessee Defendants holds its respective interests in and to,

and its associated obligations under, the Leases in which such Lessee Defendant

holds a working interest either as the original party Lessee to such Lease or as the

successor by assignment or partial assignment of the right, title and interest and

obligations of the original Lessee. The relevant Leases and assignments were and

are valid and enforceable contracts.

      301. Plaintiffs are the proper parties to sue to enforce the terms of their

respective Leases, whether as the original party Lessors to such Leases or as




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successors to the rights and interests of the original party Lessors, by deed or

assignment.

      302. Plaintiffs have performed, or have substantially performed, any and

all necessary conditions precedent, dependent obligations, and/or dependent

covenants owed under their respective Leases and the related assignments.

Plaintiffs are, and have been, entitled to performance by the Lessee Defendants of

their obligations under their respective Leases and the related assignments.

      303. Under the terms of the oil and gas leases of those Plaintiffs who are

parties, or the successors or assigns of parties, to leases with Anadarko or T.S.

Calkins, the Lessee Defendants were not and are not entitled to deduct post-

production costs from the proceeds received by it at the point of sale in calculating

the royalties payable to Plaintiffs.

      304. In material breach of their obligations under the terms of Plaintiffs’

Leases, each of the Lessee Defendants has deducted, and continues to deduct, post-

production costs from the proceeds received by it at the point of sale in calculating

the royalties payable to Plaintiffs, and based on such deductions has improperly

reduced and failed to pay the royalties due and owing to Plaintiffs under the terms

of their respective Leases.

      305. Acting without any right or authority to do so, and also in material

breach of its obligations under the terms of Plaintiffs’ Leases, the Lessee



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Defendants also have unilaterally and wrongfully applied their new method of

calculating royalties retroactively, by offsetting royalties due and owing to

Plaintiffs from current production against their purported prior overpayments to

Plaintiffs (both calculated using the new methodology), and, as a result,

suspending or reducing current royalty payments owed to Plaintiffs. Even if the

Lessee Defendants were entitled to deduct post-production costs in calculating

current royalties, they were not and are not entitled to retroactively recoup

purported prior overpayments based on their failure to have deducted post-

production costs in the past, or otherwise having miscalculated the royalties paid to

Plaintiffs.

       306. In the alternative, if the leases under which Plaintiffs hold royalty

interests entitled Chesapeake to deduct post-production costs from the proceeds

received by it at the point of sale in calculating the royalties payable under such

Leases, such costs are implicitly limited to a pro rata share of the reasonable and

actual charges actually paid by the Lessee Defendants for bona fide post-

production services.

       307. The Lessee Defendants materially breached their express or implied in

fact obligations under each of Plaintiffs’ Leases: (a) by deducting post-production

costs from the proceeds received by them at the point of sale in calculating the

royalties payable to the respective Plaintiffs; or, in the alternative, (b) by deducting



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amounts which were not bona fide post-production costs, or were otherwise in

artificially inflated, grossly excessive or otherwise unreasonable in amount,

derived from artificial and self-serving formulas established in the transactions

which guaranteed excessive profits to Chesapeake and Access Midstream.

      308. In addition, or in the alternative, to breaching theirs express or implied

in fact obligations under the respective Plaintiffs’ Leases, the Lessee Defendants

materially breached their respective implied covenant of good faith and fair dealing

inherent in the Leases by selling the gas produced pursuant to the Leases in which

Plaintiffs hold royalty interests to affiliate, in non-arms’-length transactions, at

artificial, self-serving and unreasonably low prices, and by charging, deducting,

imposing and passing-along such costs, and also by unilaterally and retroactively

recouping and recovering, artificially inflated, grossly excessive, improper and

unreasonable charges for purported post-production costs, and by self-interestedly

using such costs to improperly reduce the royalties payable and actually paid to

Plaintiffs under their Leases.

      309. As a direct, proximate and foreseeable result of foregoing material

breaches by the Lessee Defendants of their respective express and implied

contractual obligations, Plaintiffs have suffered financial injuries for which

Plaintiffs now seek all expectation-interest damages, consequential and incidental

damages, lost profits, out-of-pocket losses, and future damages.



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      310. Plaintiffs believe that the relevant terms of the leases and assignments

at issue clearly and unambiguously provide the rights and obligations described in

the preceding paragraphs. In the alternative, however, plaintiffs plead and allege

both (a) that the relevant terms of the leases and assignments at issue are

ambiguous as a matter of law and (b) that the interpretation of the relevant leases

and assignments stated in the preceding paragraphs represents the correct and

proper interpretation of the relevant leases and assignments.

                              SIXTH CAUSE OF ACTION

                                  (Action for Accounting)

      311.    Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      312.    Each of the Lessee Defendants has received, and continues to receive,

monies in connection with sale of natural gas produced and marketed from the

leased premises, in which Plaintiffs hold royalty interests under the terms of their

respective leases.

      313. The relationships created by the leases to which the respective

Plaintiffs are parties imposes a legal obligation upon each of the Lessee

Defendants which holds a working interest in such leases to account to the

respective Plaintiffs for the monies received by or on behalf of such Defendants

from the sale of natural gas produced and marketed from the leased premises.



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      314. As a matter of law, each of the Plaintiffs is entitled to an accounting

from each of the Lessee Defendants that holds a working interest in the Plaintiff’s

lease for the monies received by such Defendants from the sale of natural gas

produced and marketed from the leased premises.

      315. In the alternative, each of the Plaintiffs is entitled to an equitable

accounting from Chesapeake Appalachia and from each of the other Lessee

Defendants, because the accounts involved in the calculation of the royalties

payable to Plaintiffs are inherently complicated, and because the Lessee

Defendants have failed to account for the purported post-production gathering and

transportation costs which they have deducted, or threatened to deduct, in

calculating the royalties payable to Plaintiffs. As a result, each of the Plaintiffs is

entitled to an equitable accounting.

                         SEVENTH CAUSE OF ACTION

                                    (Conversion)

      316. Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      317. Defendants wrongfully and intentionally caused unauthorized or

artificially inflated and unreasonable deductions to be taken from royalties

otherwise payable to Plaintiffs.




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      318. Plaintiffs were entitled to receive the wrongfully deducted amounts

pursuant to their leases.

      319. As alleged above, Defendants collected the amounts wrongfully

deducted from Plaintiffs royalties through agreements between affiliates of

Chesapeake and Access Midstream that resulted in the charges being assessed

against Plaintiffs’ royalties by the respective Lessee Defendants.

      320. Defendants have retained these funds unlawfully and without the

consent of Plaintiffs, and have deprived Plaintiffs from exercising control over

these funds, which belong to Plaintiffs.

      321. Defendants intend to permanently deprive Plaintiffs of these funds.

      322. The funds which have been taken and retained by Defendants are

specific and readily identifiable pursuant to royalty statements largely in the

control of the Lessee Defendants.

      323. The funds taken and retained by the Lessee Defendants were

ultimately received and retained by their respective parent companies and other

Defendants herein as part of the coordinated conduct alleged herein.

      324. As a direct and proximate result of Defendants’ wrongful conversion,

Plaintiffs have suffered and continue to suffer damages.




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      325. Plaintiffs are entitled to recover from Defendants all damages and

costs permitted, including all amounts wrongfully converted, which are specific

and readily identifiable

      326. In wrongfully converting Plaintiffs’ funds, Defendants and each of

them have acted, and are continuing to act, intentionally, willfully, outrageously

and in conscious disregard of the rights and interests of Plaintiffs, entitling

Plaintiffs to recover, in addition to compensatory damages, punitive and exemplary

damages, in an amount to be determined at trial.

                             EIGHTH CAUSE OF ACTION

                                     (Civil Conspiracy)

      327. Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      328. By engaging in the actions set forth above, Defendants, and each of

them, acting with the intent to injure Plaintiffs and other Lessor Royalty Owners,

and without privilege or justification to do so, wrongfully agreed, combined and

conspired with each other and with third parties to make wrongful deduction from

Plaintiffs’ royalties and to thereby deprive Plaintiffs of the royalties which they

were and are entitled to receive under the respective Leases under which they hold

royalty interests by causing, enabling, inducing and permitting the respective

Lessee Defendants to take or give effect to impermissible, or otherwise arbitrary,



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excessive and unreasonable, deductions for purported post-production costs in

calculating the royalties payable to Plaintiffs, and have taken, and are continuing to

take, actions in furtherance of such agreement, combination and conspiracy.

       329. Defendants have formed and operated a civil conspiracy with each

other to convert Plaintiffs’ property, performing as part of the conspiracy

numerous overt act in furtherance of the common design, including one or more

unlawful acts which were performed to accomplish a lawful goal, or, in the

alternative, one or more lawful acts which were performed to accomplish an

unlawful goal.

       330. Defendants intended to injure Plaintiffs, and succeeded in injuring

Plaintiffs, to the extent of the wrongful deductions alleged herein, without legal

justification.

       331. As a direct and proximate result of wrongful agreement, combination

and conspiracy by and among the Defendants, and the actions taken by them in

furtherance of the agreement, combination and conspiracy, Plaintiffs have been

harmed, and continue to be harmed, by the loss and underpayment of royalties to

which they were and are otherwise contractually entitled pursuant to their

respective leases or assigned rights.

       332. In wrongfully agreeing, combining and conspiring to deprive

Plaintiffs of the royalties to which they are contractually entitled, and in taking



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actions in furtherance of such agreement, combination and conspiracy, as set forth

above, Defendants and each of them have acted, and are continuing to act,

intentionally, willfully, outrageously and in conscious disregard of the rights and

interests of Plaintiffs, entitling Plaintiffs to recover, in addition to compensatory

damages, punitive and exemplary damages, in an amount to be determined at trial.




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                           NINTH CAUSE OF ACTION

                              (Declaratory Judgment)

      333.    Plaintiffs restate and incorporate the facts alleged in the preceding

paragraphs of this Complaint as if set forth in full.

      334. The Lessee Defendants have acted contrary to their obligations under

the relevant leases and assignments. A substantial controversy of sufficient

immediacy and reality exists between Plaintiffs and the Lessee Defendants so as to

warrant this Court’s declaration on the matters presented.

      335. Plaintiffs and the Lessee Defendants hold adverse legal interests.

      336. Plaintiffs seek a declaration as to the following rights and legal

relations:

      a.     That the Lessee Defendants cannot deduct, or allow for the deduction

of, post-production costs and expenses in calculating the royalties to which

Plaintiffs are and have been entitled; or, in the alternative,

      b.     That the Lessee Defendants cannot deduct, or allow for the deduction,

of post-production costs and expenses in calculating the royalties to which

Plaintiffs are and have been entitled in any amounts in excess of the reasonable

market price for the applicable service in a competitive market.




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VII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs request that judgment be entered in their favor,

and against Defendants, on all of their respective causes of action, granting the

following relief:

      A.     As to the First Cause of Action, for Violation of Section 1 of the

Sherman Act, an award of monetary damages to each of the Plaintiffs, as allowed

by law, in favor of Plaintiffs and against the Defendants, jointly and severally,

including compensatory damages in such amounts as are determined at trial to

have been sustained by each of the respective Plaintiffs, and treble damages

pursuant to 15 U.S.C. § 15(a), together with costs of suit, including reasonable

attorneys’ fees;

      B.     As to the Second Cause of Action, for Violation of Section 2 of the

Sherman Act, an award of monetary damages to each of the Plaintiffs, as allowed

by law, in favor of Plaintiffs and against the Defendants, jointly and severally,

including compensatory damages in such amounts as are determined at trial to

have been sustained by each of the respective Plaintiffs, and treble damages

pursuant to 15 U.S.C. § 15(a), together with costs of suit, including reasonable

attorneys’ fees;

      C.     As to the Third and Fourth Causes of Action, for violation of RICO,

an award of monetary damages to each of the Plaintiffs, as allowed by law, in favor



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of Plaintiffs and against the Defendants, jointly and severally, including

compensatory damages in such amounts as are determined at trial to have been

sustained by each of the respective Plaintiffs, and treble damages pursuant to 18

U.S.C. § 1964(c), together with costs of suit, including reasonable attorneys’ fees;

      D.     As to the Fifth Cause of Action for breach of contract, an award of

compensatory damages to each of the Plaintiffs, and against defendant Chesapeake

Appalachia or Anadarko, as the case may be, in such amounts as may be

determined at trial to have been sustained by each of the respective Plaintiffs,

together with costs of suit;

      E.     As to the Sixth Cause of Action, for an accounting, an accounting as

described above;

      F.     As to the Seventh Cause of Action, for conversion, an award of

compensatory damages to each of the Plaintiffs, and against all Defendants, jointly

and severally, or, in the alternative, against defendant Chesapeake Energy, as

allowed by law, in such amounts as are determined at trial to have been sustained

by each of the respective Plaintiffs, together with punitive damages, in an amount

determined to be just and proper, and costs of suit;

      G.     As to the Eighth Cause of Action, for civil conspiracy, an award of

compensatory damages to each of the Plaintiffs, and against each of the

Defendants, jointly as severally, as allowed by law, in such amounts as are



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determined at trial to have been sustained by each of the respective Plaintiffs,

together with punitive damages, in an amount determined to be just and proper,

and costs of suit;

      H.       As to the Ninth Cause of Action, for declaratory judgment, a

declaration of the rights of the respective parties, as described above;

      I.       As to all monetary damages awarded, an award to Plaintiffs and

against the applicable Defendants of pre- and post-judgment interest on the

amount(s) of the monetary damages awarded; and

      J.       Granting such other and further relief as may be deemed necessary or

appropriate.




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VIII. DEMAND FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs

hereby demand a trial by jury as to all of their respective claims and issues in this

action that are triable of right by a jury.

Dated: July 17, 2015                      Respectfully submitted,

                                          By: Thomas S. McNamara
                                          Thomas S. McNamara (pro hac vice)
                                          Attorney ID #38479
                                          INDIK & McNAMARA, P.C.
                                          100 South Broad Street, Suite 2230
                                          Philadelphia, PA 19110
                                          T: (215) 567-7125
                                          Email: tmcnamara915@gmail.com

                                          Christopher D. Jones
                                          Attorney I.D. # 84049
                                          GRIFFIN, DAWSEY, DePAOLA &
                                          JONES, P.C.
                                          101 Main Street
                                          Towanda, PA 18848
                                          Tel: (570) 265-2175
                                          Email: chris@gddj-law.com

                                          Taunya M. Knolles Rosenbloom
                                          Attorney ID # 200635
                                          LAW OFFICES OF TAUNYA M.
                                          KNOLLES ROSENBLOOM
                                          332 South Main Street, P.O. Box 309
                                          Athens, PA 18810
                                          Tel: (570) 888-0660
                                          Email: taunya@tkrlaw.com


                                          Attorneys for Plaintiffs



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EXHIBIT A
The Economic Impact of
    Marcellus Shale
 in Bradford and Tioga
Counties, Pennsylvania
             By
  Representative Matt Baker
        68th District
Northern Tier Drilling




Chesapeake Energy is the red wells
